                 Case 5:15-cv-00353-JM Document 1 Filed 11/04/15 Page 1 of 72


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                                                                                     t!!u...J!.S.
                                                                                               DISTRJCT COURT
                                                                                     ""'°' cRN DISTRJCT ARKANSAS
                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF ARKANSAS
                                                                                           NOV 04 2015
                                     PINE BLUFF DIVISION                      JAM
                                                                              By:~~µ:;.~~~~,.,..,.

EDWARD A. DANLEY and                                     *
RENA DANLEY,                                             *
                                                         *
                   PLAINTIFFS,                           *
                                                         *    CIVIL ACTION NO.       5fi-611·'{)353J/11··JJ(
v.                                                       *
                                                         *
MONDI BAGS USA, LLC;                                     *
GRAPHIC PACKAGING                                        *
INTERNATIONAL, INC.;                                     *
DELTA NATURAL KRAFT, LLC;                                *
AND JOHN DOES 1-5,                                       *
                                                         *   and to i ...
                   DEFENDANTS.                           *
                                                         *
                                       NOTICE OF REMOVAL

        Defendants Mondi Bags USA, LLC ("Mondi USA") and Delta Natural Kraft, LLC

("Delta Kraft"), pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, give notice that Civil Action No.

35CV-2015-332 styled as Edward A. Danley, et al. v. Mondi Bags USA, LLC, et al., which is

currently pending in the Circuit Court of Jefferson County, State of Arkansas, is hereby removed

to the United States District Court for the Eastern District of Arkansas, the federal jurisdiction

encompassing the Circuit Court of Jefferson County, Arkansas. In accordance with 28 U.S.C. §

1446, a copy of all process, pleadings and orders served upon Defendants therein is filed

simultaneously herewith and attached hereto as Exhibit "A". The grounds for the removal of this

action are as follows:

                                    DIVERSITY OF CITIZENSHIP

            1.      This Court has jurisdiction over this case on the ground of diversity of citizenship

of the parties, pursuant to 28 U.S.C. § 1332.


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                 Case 5:15-cv-00353-JM Document 1 Filed 11/04/15 Page 2 of 72




            2.      The Complaint and accompanying Summons identify Plaintiffs as residing in

George County, Mississippi, thus creating citizenship for Plaintiffs in Mississippi.

            3.      Defendant Mondi USA is a Delaware limited liability corporation, the member of

which is Mondi Romeoville, Inc. Mondi Romeoville Inc., is a Delaware corporation with its

principal place of business in Atlanta, Georgia. Therefore, citizenship for Mondi USA is in

Delaware and Georgia.

            4.     Defendant Graphic Packaging International, Inc. ("GPI"), is a Delaware

corporation with its principal place of business in Atlanta, Georgia. Therefore, GPI is a citizen

of Delaware and Georgia. GPI consents to this removal.

            5.     Putative defendant Delta Kraft is a former Delaware limited liability corporation

that merged into Graphic Flexible Packaging, LLC ("GFP"), effective as of June 30, 2012. A

true and correct copy of the Certificate of Merger is attached as Exhibit "B". As such, Delta

Kraft is not a proper party to this action and its citizenship is irrelevant for the purpose of

determining diversity jurisdiction for this removal. In any event, the member of Delta Kraft

prior to the merger was GPI, a Delaware corporation with its principal place of business in

Atlanta, Georgia. Thus, Delta Kraft was a citizen of Delaware and Georgia. To the extent its

consent is needed, Delta Kraft consents to this removal.

            6.     GFP was the surviving corporation of the merger between Delta Kraft and GFP.

GFP is a Delaware limited liability corporation that changed its name to Mondi Bags USA, LLC

on June 30, 2014. Therefore, Delta Kraft, GFP, and Mondi USA are all the same entity for

which citizenship is in Delaware and Georgia.

            7.     In consideration of the above, therefore, complete diversity of citizenship exists

between Plaintiffs and the Defendants.




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                  Case 5:15-cv-00353-JM Document 1 Filed 11/04/15 Page 3 of 72




                                     AMOUNT IN CONTROVERSY

            8.      Plaintiffs allege in Paragraph 102 of the Complaint that "[t]he injuries and

damages sustained by the [Plaintiffs] are in excess of the minimum amount required for federal

court jurisdiction in diversity of citizenship cases ... " On that basis, without admitting liability or

the extent of alleged damages, Defendants state that the amount in controversy is in excess of

$75,000, exclusive of interest and costs.

                      ALL PROCEDURAL REQUIREMENTS FOR REMOVAL
                                 HAVE BEEN SATISFIED

            9.      Mondi USA and Delta Kraft received purported service of the Summons,

Complaint, and Requests for Admissions on or around October 5, 2015.

            10.      This Notice of Removal is filed within thirty (30) days of October 5, 2015, the

date Mondi USA and Delta Kraft received notice of this action.

            11.     This action is not an action described in 28 U.S.C. § 1445.

            12.     Pursuant to 28 U.S.C. § 1367, this Court also has supplemental jurisdiction over

any and all claims for which it does not have original jurisdiction.

            13.     Pursuant to 28 U.S.C. § 1446(a), a copy of all of the process, pleadings, orders,

and documents from the Circuit Court of Jefferson County action which have been served upon

Mondi USA and Delta Kraft are being filed with this Notice of Removal.

            14.      All defendants consent to this removal.

            15.      Promptly after filing this Notice of Removal, written notice hereof will be given

to Plaintiffs and filed with the Clerk for the Circuit Court of Jefferson County, State of Arkansas,

pursuant to 28 U.S. C. § 1446(d).

            Respectfully submitted this 4th day of November, 2015.




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            Case 5:15-cv-00353-JM Document 1 Filed 11/04/15 Page 4 of 72




                                      Kevin A. Crass, AR Bar No. 84029
                                      Kathrine C. Stephens, AR Bar No. 2015125
                                      Friday Eldredge & Clark, LLP
                                      400 W. Capitol Avenue, Suite 2000
                                      Little Rock, AR 72201
                                      Phone: (501) 376-2011
                                      Fax: (501) 244-5370
                                      E-Mail:        crass@fridayfirm.com
                                                     kstephens@fridayfirm.com

                                      Of Counsel

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                                      Georgia Bar No. 979276
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                                      Atlanta, Georgia 30339
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                                      Facsimile:    (770) 434-7376
                                      Email: cmcknight@taylorenglish.com
                                              vsuh@taylorenglish.com

                                      Attorneys for Defendant Mondi Bags USA, LLC
                                      and Delta National Kraft, LLC




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              Case 5:15-cv-00353-JM Document 1 Filed 11/04/15 Page 5 of 72




                              CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing Notice of Removal has been forwarded to
Plaintiffs by United States mail, properly addressed and postage prepaid to the following
address:

                 Don P. Chaney                                    David Baria
            CHANEY LAW FIRM, P.A.                           Baria-Williamson, PLLC
                 P.O. Box 1405                                    544 Main St.
             Arkadelphia, AK 71923                          Bay St. Louis, MS 39520
              Attorney for Plaintiff                         Attorney for Plaintiff

            Robert C. Williamson                               Robert L. Henry, III
          Baria-Williamson, PLLC                         BARBER LAW FIRM PLLC
      4316 Old Canton Road, Suite lOOA                        3400 Simmons Tower
             Jackson, MS 39211                             425 West Capitol Avenue
            Attorney for Plaintiff                           Little Rock, AR 72201
                                                   Attorney for Defendant Graphic Packaging
                                                                International, Inc.

Respectfully submitted this 4th day of November, 2015.




                                           Kevin A. Crass

                                           Attorney for Defendants Mondi Bags USA, LLC
                                           and Delta National Kraft, LLC




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                    Case 5:15-cv-00353-JM Document 1 Filed 11/04/15 Page 6 of 72




CORPORATION SERVICE COMPANY"

                                                                                                                         null/ ALL
                                                                                                     Transmittal Number: 14319708
Notice of Service of Process                                                                            Date Processed: 10/06/2015

Primary Contact:           Roseann Alexander
                           Graphic Packaging Holding Company
                           1500 Riveredge Parkway
                           Suite 100 Law Dept, 9th Floor
                           Atlanta, GA 30328

Entity:                                       Delta Natural Kraft, LLC
                                              Entity ID Number 3059317
Entity Served:                                Delta Natural Kraft, LLC
Title of Action:                              Edward A. Danley vs. Mondi Bags USA, LLC
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Personal Injury
Court/Agency:                                 Jefferson County Circuit Court, Arkansas
Case/Reference No:                            35CV-2015-332
Jurisdiction Served:                          Arkansas
Date Served on CSC:                           10/05/2015
Answer or Appearance Due:                     30 Days
Originally Served On:                         csc
How Served:                                   Certified Mail
Sender Information:                           Don P. Chaney
                                              870-246-0600

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                               To avoid potential delay, please do not send your response to CSC
                              CSC is SAS70 Type II cerlified for its Litigation Management System.
                         2711 Centerville Road Wilmington, DE 19808 (888) 690-2882          I   sop@cscinfo.com




                                                                                                                           •       EX~BIT

                                                                                                                           i          ft
                                                                                                                           I
                         Case 5:15-cv-00353-JM Document 1 Filed 11/04/15 Page 7 of 72
         .~·

.....'



                                            CHANEY LAW FIRM, P.A.
                                                        P.O. Box 1405
                                                   526 Main Street, Suite 204
                                                  Arkadelphia, Arkansas 71923
                                                     Phone: (870)246-0600
               Donald Price Chaney, Jr.              www.cbaneylaw.com                             Facsimile: (866) 734-0971
               Nathan Price Chaneyt:                                                   Writer's Email: Don@chaneylaw.com
               Hilary Martin Chaney                                                             t Registered Patent Attorney
               Sterling Taylor Chaney                                                                i Also licensed in Texas



                                                       September 29, 2015

               CERTIFIED MAIL NO.: 7014 1820 0002 0926 9722

               Corporation Service Company
               Registered Agent for Service of Process
               for Delta Natural Kraft, LLC
               300 Spring Building, Suite 900
               300 South Spring Street
               Little Rock, Arkansas 72201


                       RE:     Edward A. Danley and Rena Danley v. Mondi Bags USA, LLC;
                               Graphic Packaging International, Inc.; Delta Natural Kraft, LLC;
                               and John Does 1-5
                               Jefferson Count] Circuit No.: 35CV-2015-332


               Dear Corporation Service Company:

                       As an attorney for the Plaintiffs in the above action, I am serving you as the registered
               agent for service of process for Delta Natural Kraft, LLC, with (1) the Complaint filed in this
               action; (2) a Summons explaining what actions must be taken; and (3) a set of Requests for
               Admissions to be answered.

                       Service of process is being completed upon you pursuant to Rule 4 of the Arkansas Rules
               of Civil Procedure.

                       The company for which you have accepted service of process has thirty (30) days from
               your receipt hereof in which to answer or otherwise plead to the allegations of the Complaint and
               (45) days to answer the Request for Admissions. If it fails to do so, the Court may grant the
               Plaintiffs all relief requested in the Complaint without further notice to you or the company for
               which you have accepted service of process. I would urge you to immediately notify the
               company for which you have accepted service to consult its corporate attorney, and to notify the
               insurance carrier at once about this service of legal process upon you to commence this lawsuit.
         Case 5:15-cv-00353-JM Document 1 Filed 11/04/15 Page 8 of 72




Letter to Corporation Service Company
September 29, 2015
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DPC/kmm
Enclosures

cc:     Mr. Robert C. Williamson
        Mr. David Baria
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            IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ARKANSAS
                                          CJVJL DIVI$4'N
EDWARD A. DANLEY and
                                                   Z.t\ '.                                PLAINTIFF
RENA DANLEY

v.                                          35CV-2015 ;      '?   r-
MONDI BAGS USA, LLC;                                                                    DEFENDANT
GRAPHIC PACKAGING INTERNATIONAL, INC.;
DELTA NATURAL KRAFT, LLC; and
JOHN DOES 1-5

                                             SUMMONS

The State of Arkansas to Defendant:
Delta Natural Kraft, LLC
C/O Corporation Service Company,
As Registered Agent for Service of Process
300 Spring Building, Suite 900
300 S. Spring Street
Little Rock, AR 72201

A law.suithas been filed agajrfsf;you. The r¢!iefdemanded is stated in the attached complaint. Within
30 days after se..Vice oflhis· summo.n.s· o~ you (not counting the day you received it) - or 60 days if
you :are incarce~ted in :anyjail, p.enitent:i~. or·other correctional facility in Arkansas -you must
file WitJi th~ detk of-!~is cpurt·a written answer to the complaint or a motion under Rule 12 of the
Arkansas Rules of Civil Procedure.

The answer or motion must also be served on the plaintiff or plaintiffs attorney, whose name and
address are: Don P. Chaney, CHANEY LAW FIRM, P.A., P.O. Box 1405, Arkadelphia, Arkansas
71923.

If you fail to respond within the applicable time period, judgment by default may be entered against
you for the relief demanded in the complaint.
                                                        LAFAYETTE WOODS, SR., Circuit Clerk
Address of Clerk's Office:                               CLERK OF COURT

                                                                              ·~D~
Jefferson Circuit Court
Jefferson County Circuit Clerk
101 E Barraque St.
Pine Bluff, Arkansas 71601                                Si t,lature·ofClerk or Deputy Clerk]
                                                                         JUL 1 0 2015

                                        PROOF OF SERVICE

0 I personally delivered the summons and complaint to the individual at------~-­
--~-----------------(place] o n - - - - - - - - [date]; or
O I left the summons and complaint in the proximity of the individual by _ _ _ _ _ _ _ __
------------                     after he/she refused to receive it when I offered it to him/her; or
                                                    1
         Case 5:15-cv-00353-JM Document 1 Filed 11/04/15 Page 10 of 72



iJ I left the summons and complaint at the individual's dwelling house or usual place of abode at _
         .           _ [add~ss] with                                   [name], a person at least 14
years o.f-age wbp reside5there, on                            [d!lte]; <>.r
:: l delivered the ·summons and com.pl~int tQ                           [n~me . of individual], an agent
authorized by appointment or by law to rect;ive servi~e of summons on behalf of _ _ _ _ _ __
- - - - - - - - [ n a m e of defendant] on                              [date]; or
0 I am the plaintiff or aq !lttQrney of r.ecord for the plaintiff in this lawsuit, and I served the summons
and complaint on the defendant by·certified mail, return receipt requested, restricted delivery, as
shown by the attached signed return receipt.

0 Jam the plaintiff or an attorney ofrecord for the plaintiff in this lawsuit, and I mailed a copy of the
s1.1mmons a-rid complaint by first-class mail to the defendant together with two copies of a notice and
acknowledgmerit and received the attached notice and acknowledgment form within twenty days
after the date ofmailing.

G Other [ s p e c i f y ] : - - - - - - - - - - - - - - - - - - - - - - - - - - - -

D I was unable to execute service b e c a u s e : - - - - - - - - - - - - - - - - - - - - -


My fee is $_ _ _ _ _ __

To be completed if service is by a sheriff or deputy sheriff:


Date:                                            SHERIFF OF _ _ _ COUNTY, ARKANSAS


By:
        [Signature of server]                    [Printed name, title, and badge number]


To be completed if service is by a person other than a sheriff or deputy sheriff:


Date:                                            By:
                                                            [Signature of server]
Address: - - - - - - - - - -

                                                            [Printed name]


                                                            Additional information regarding
Subscribed and sworn to before me this date:                service or attempted service:
                                                            Complaint attached



Notary Public
My comni::>~ion expires:--......------
                                                       2   '----~-~--~......-~-~......--~~----'
         Case 5:15-cv-00353-JM Document 1 Filed 11/04/15 Page 11 of 72




               IN THE CIRCUIT COURT OF JEFFERSON, COUNTY, ARKANSAS
                                  CIVIL DIVISION
                                                    z_f\d
EDWARD A. DANLEY and                                                                     PLAINTIFFS
RENA DANLEY

v.                                           35CV - 2015 -      ],~ y
MONDI BAGS USA, LLC;                                                                  D~FENDANTS
GRAPHIC PACKAGING INTERNATIONAL, INC.;
DELTA NATURAL KRAFT, LLC; and
JOHN DOES 1-5


                                           COMPLAINT

          COME NOW the Plaintiffs, Edward A. Danley and Rena Danley (collectively ''the

Danleys") and for their cause of action against Delta National Kraft, LLC ("Delta Kraft"),

Graphic Packaging International, Inc. ("GPI"), and Mondi Bags USA, LLC ("Mondi USA"), and

state:

                                           THE PARTIES

          1.     The Danleys are adult residents of George County, Mississippi.

          2.     Delta Kraft is an Arkansas Limited Liability Company whose registered agent for

service of process is Corporation Service Company, 300 Spring Building, Suite 900, 300 S.

Spring Street, Little Rock, AR 72201.

          3.     Mondi USA, formerly Graphic Flexible Packaging, LLC, is a Delaware

Corporation qualified to do business in Arkansas whose registered agent for service of process is

Corporation Service Company, 300 Spring Building, Suite 900, 300 S. Spring St, Little Rock,

AR 72201.

          4.     GPI is a Delaware Corporation qualified to do business in Arkansas whose

registered agent for service of process is-The-l?.rentice,,,HalLC9rporatio_n_S.x_s1em, Ark@.~_as,_39_Q_   .
                                                                          FILED IN MY ~&Tl AND SUMM!J
Spring Building, Suite 900, 300 S. Spring Street, Little Rock, AR 7220f$SUED At        \   O'CLOCK~
                                                                         ~~2015 DAT
                                                                               :r:~~
          Case 5:15-cv-00353-JM Document 1 Filed 11/04/15 Page 12 of 72




           5.      The fictitious John Doe Defendants, whether singular or plural, are those entity or

entities, or individual or individuals, who are or may be liable to the Danleys for the wrongful

conduct describedin this Complaint , or who may be responsible for the damages sustained by

the Danleys as described in this Complaint..

           6.      The Danleys aver the identities of these fictitious party defendants are unknown to

them or if their names are known to the Danleys, their identities as proper defendants are not

known to the Danleys and that their true names will be substituted by amendment when

ascertained.

          7.       Plaintiffs attorney's affidavit about the John Doe Defendants is included below.

                                       JURISDICTION AND VENUE

           8.      The Court has subject matter jurisdiction under the Arkansas Constitution.

          9.       Venue is proper as a substantial part of the events or omissions giving rise to the

claim occurred in Jefferson County, Arkansas. 1

           10.     Personal jurisdiction over each of the Defendants is proper under Arkansas

Code § 16-4101 because each of the Defendants is qualified to do business or doing business in

Arkansas and the events giving rise to this Complaint arose from their respective business

activities within Arkansas.

                                  DEFENDANTS' RELATIONSIDPS

           11.     GPI is a Fortune 1000 company who provides packaging for food, beverages and

other consumer products companies.

           12.     GPI is the wholly owned subsidiary of Graphic Packaging Corporation ("GPC"),

which is the wholly owned subsidiary of Graphic Packaging Holding Company ("GPHC"), a



1
    Ark. Code Ann.§ 16-55-213{a)(l).
                                                     2
          Case 5:15-cv-00353-JM Document 1 Filed 11/04/15 Page 13 of 72




publicly traded company, neither of which conduct significant business or have independent

assets or operations. 2

          13.    On December 8, 2011, GPI combined its multi-wall bag and specialty plastics

packaging businesses with the Kraft paper and multi-wall bag businesses of Delta Kraft and Mid-

America Packaging, LLC (collectively "DNK"), both wholly owned subsidiaries of Capital Five

Investments, LLC ("CVI"). 3

          14.    Under the terms of the transaction, GPI formed a new limited liability company,

Graphic Flexible Packaging, LLC ("GFP") and contributed its ownership interests in multi-wall
                                                              4
bag and specialty plastics packaging subsidiaries to it.
                                                                                                   5
          15.    CVI concurrently contributed its ownership interests in DNK to GFP.

          16.    Following the combination, GPI owned 87% of GFP and exercised complete
                                                                                               6
control over its day-to-day operations, making it effectively GPI's instrumentality.

          17.    On information and belief, GPI's control of GFP extended to the day-to-day

management and operations of a Kraft paper mill at 1701 Jefferson Parkway, Pine Bluff, AR

71602.

          18.    Ownership of the real property and mill itself was vested in Delta Kraft, which on

information and belief also was subject to GPl's control and a key component of GPI's operation

of the mill.




2Source: auditor's notesand comments to GHPC and its subsidiaries combined audited financial statements, 201 et
seq.                                    -- ----- ---
3   Id.
4
    Id.
s Id.
6
    Id.
                                                        3
         Case 5:15-cv-00353-JM Document 1 Filed 11/04/15 Page 14 of 72




          19.      On June 30, 2014, Moni Romeoville, Inc. purchased all of the stock or
                                                                                             7
membership interests in GFP and changed its name to Mondi Bags USA, LLC.

                                        THE CAUSE OF ACTION

          20.      In converting pulp wood to paper, the Pine Bluff paper mill produced a by-

product called Crude Tall Oil or Tall Oil Soap.

          ·21.     Defendants shipped Tall Oil Soap by truck and rail to other plants for refinement

into substances used in consumer, industrial, and construction products.

          22.      Defendants required "top loading" of the truck tankers and rail tanker cars.

          23.      Tall Oil Soap is a dark viscous liquid, both smelly and slippery, and was

frequently spilled during the loading of truck and rail tankers at the mill. .

          24.      The Defendants required truckers to load their tanker trailers from a facility used

to load rail tanker cars, a four-sided platform 15- 20 feet above the ground

          25.      Stairs from the ground below, opened on the rear (south) side of the rail car

loading platform.

          26.      Guard rails closed each end (east and west) of the rail car loading platfonn.

          27.      A hose connecting the storage tank of Tall Oil Soap to the tanker trailers or rail

tanker cars on the north side of the platform.

          28.      The front (north) side of the rail tanker car loading platform where the hose was

located was an unprotected opening.

           29.     Defendants required truckers to use the rail car tanker loading platform though it

knew there were safer alternative facilities, means and methods available.




7   K & L Gates December 22, 2014 Letter to Akransas Department of Envirorunental Quality.
                                                         4
          Case 5:15-cv-00353-JM Document 1 Filed 11/04/15 Page 15 of 72




           30.      Defendants required the truck tanker loading operations to continue at the facility

even when the surface of the platfonn, the stairs to the platform, and the ground around the

platform were contaminated with Tall Oil Soap.

           31.      On July 11, 2012, Edward Danley parked his truck and tanker trailer as directed

on the north side of the rail car loading platform to load Tall Oil Soap into his tanker trailer for

delivery to Graphic Packaging's plant in Monroe, Louisiana.

           32.      Edward Danley had to park at an angle to the platform rather than exactly parallel

because a rail tanker car was in the way.

           33.     After parking, Edward Danley exited his truck, climbed up onto the tanker trailer,

opened the dome hatch, climbed down the tanker trailer, and walked up the stairs to the platform.

           34.      The ground, the stairs, and the platform were covered with Tall Oil Soap.

           35.      The bottoms of Edward Danley's work boots were coated with Tall Oil Soap, and

he was forced, as a practical matter, to encounter a known or obvious risk to perform his job. 8

           36.     Once on the platform, Edward Danley pulled down the hose harness and placed it

in the open hatch.

           37.     As he turned around to go back down the stairs, Edward Danley's feet slipped out

from under him, and he fell backwards off the unguarded front (north) side of the platform 15-20

feet to the ground.

           38.      Edward Danley landed on his neck, back, shoulder, ribs and other body parts:

           39.      Edward Danley was transported to the Jefferson Regional Medical Center

emergency room for evaluation and t~e~tmep.t..




8
    Carton v. Missouri Pac. R.R., 303 Ark. 568, 798 S.W.2d 674 (1990).
                                                          5
          Case 5:15-cv-00353-JM Document 1 Filed 11/04/15 Page 16 of 72




           40.      The impact from the fall (hereinafter referred to as "Edward Danley's fall")

caused the bodily injuries and damages to Edward Danley described below.

           41.      At all times, Edward Danley was a business invitee of Defendants.

                                  DUTIES OWED BY DEFENDANTS

           42.      Defendants were required to follow safety rules and standards to maintain their

loading facility and premises in a reasonably safe condition to prevent Edward Danley and others

from foreseeable workplace dangers, both before and at the time of the Edward Danley's fall. 9

           43.      Defendants were required to follow safety rules and standards to protect Edward

Danley from foreseeable workplace dangers of which Defendants knew or should have known

about for the safety of Edward Danley and others, both before and at the time of the Edward

Danley's fall. 10

           44.      Defendants knew or should have known that a person loosing their footing on

surfaces covered with Tall Oil was a foreseeable risk.

           45.      Defendants knew or should have known that falls from the rail truck platform was

a foreseeable risk.

           46.      Defendants were required to provide and maintain clean and dry surfaces on the

platform and on the passageways and stairs used to access the platform for the safety of Edward
                                                                                 11
Danley and others both before and at the time of Edward Danley's fall.




9
 AMI Civ. 1104(2015); 29 C.F.R. § 1910.l76(c); Cartonv. Missouri Pac. R.R., 303 Ark. 568, 798 S.W.2d674
(I 990); Madison Foods, Inc. v. Marshall, 630 F.2d 628 (8th Cir. 1980).
10
  DeVazier v. Whit Davis Lumber Co., 257 Ark. 371, 516 S.W.2d 610 (1974); 29 C.F.R. § 1910.l 76(c); Madison
Foods, Inc. v. Marshall, 630 F2d 628 (8th Cir. 1980).
11
     29 C.F.R. 19.10.23.
                                                       6
           Case 5:15-cv-00353-JM Document 1 Filed 11/04/15 Page 17 of 72




            4 7.     Defendants were required to have a guard rail or other suitable protections on the

front (north) side of the platfonn for the safety of Edward Danley and others, both before and at

the time of Edward Danley's fall. 12

            48.      Defendants were required to follow safety rules and standards to protect Edward

Danley from dangers he might discover, for his safety and others, both before and at the time of

Edward Danley's fall.13

            49.      Defendants were required to follow safety rules and standards to anticipate

dangerous conditions that would cause physical harm, regardless if such dangerous conditions

were open and obvious, for the safety of Edward Danley and others, both before and at the time
                                 14
of Edward Danley's fall.

            50.      Defendants were required to follow safety rules and standards to inspect the

loading facility and premises to discover the actual condition of the premises for the safety of
                                                                                             15
Edward Danley and others, both before and at the time of Edward Danley's fall.

            51.      Defendants were required to follow safety rules and standards to institute a

training program for employees to teach them how to inspect the loading facility and premises to

discover the actual condition of the premises for the safety of Edward Danley and others, both

before and at the time of Edward Danley's fall .. 16

            52.      Defendants were required to follow safety rules and standards to provide training

to employees to teach them how to inspect the loading facility and/or premises to discover the


12
     29 C.F.R. 1910.23(a){l)(b)(3)(c)(1)(3)(e)(3)(v)(c).
13
     DeVazier v. Whit Davis Lumber Co., 257 Ark. 371, 516 S.W.2d 610 (1974).
14
  Carton v. Missouri Pac. R.R., 303 Ark. 56s, 798 S.W.2d 674 (I 990); Kuykendall v. Newgent, 255 Ark. 945, 504
S.W.2d 344 (1974); 29 C.F.R. § 1910.1769(c); Madison Foods, Inc. v. Marshall, 630 F.2d 628 (8th Cir. 1980).
15
   Carton v. Missouri Pac. R.R., 303 Ark. 568, 798 S.W.2d 674 (1990); Restatement Second of Torts§ 343 cmt b
(I 965); 29 C.F.R. § 191O.I76(c); Madison Foods, Inc. v. Marshall, 630 F.2d 628 (8th Cir. 1980).
16
     29 C.F.R. § l 910.9(b).
                                                           7
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actual condition of the premises for the safety of Edward Danley and others, both before and at

the time of Edward Danley' s fall .. 17

           S3.      Defendants were required to follow safety rules and standards to warn of

dangerous conditions discovered following inspection of the loading facility and premises for the

safety of Edward Danley and others, both before and at the time of the Edward Danley's fall. 18

           S4.      Defendants were required to follow safety rules and standards to institute a

training program for employees to teach them how to warn of dangerous conditions discovered

following inspection of the loading facility and/or premises for the safety of Edward Danley and

others, both before and at the time of the Edward Danley's fall. 19

           SS.      Defendants were required to follow safety rules and standards to provide training

to employees to teach them how to warn of dangerous conditions discovered following

inspection of the loading faci)ity andpremises for the safety of Edward Danley and others, both

before and at the time of the Edward Danley' s fall. 20

           S6.      Defendants were required to follow safety rules and standards to repair the

premises after discovering any defective conditions for the safety of Edward Danley and others,

both before and at the time of the Edward Danley's faU. 21

           57.      Defendants were required to follow safety rules and standards to institute a

training program for employees to teach them how to repair the premises after discovering any




17
     29 C.F.R. § 1910.9(b).
18
  Kelley v. National Union Fire Ins. Co., 327 Ark. 329, 937 S.W.2d 660 (1997); Jenkins v. Hestand's Grocery, 320
Ark. 485, 898 S.W.2d 30 (1995); Restatement Secondo/Torts§ 343 cmt b (1965).
19
     29 C.F.R. § 1910.9(b).
20
     29 C.F.R. § 1910.9(b).
21
     Trent v. KMS, Inc., 55 Ark. App. 355, 935 S.W.2d 6 (1996); Restatement Secondo/Torts§ 343 cmt d (1965).
                                                         8
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defective condition for the safety of Edward Danley and others, both before and at the time of the

Edward Danley's faU. 22

           58.      Defendants were required to follow safety rules and standards to provide training

to employees to teach them how to repair the premises after discovering the defective condition

for the safety of Edward Danley and others, both before and at the time of the Edward Danley's

fall.23

           59.      Defendants W(;re required to follow safety rules and standards to use ordinary care

for the safety of Edward Danley and others, both before and at the time of the Edward Danley's

fall.24

           60.      Defendants were required to hire only employees with the skills and aptitude

needed to follow the safety rules and standards listed above and to supervise their performance to

ensure the employees complied with the safety rules listed above.

           6 i.     Defendants were not allowed to needlessly endanger Edward Danley or anyone

else by violating the safety rules and standards listed above.

                               DUTIES VIOLATED BY DEFENDANTS

           62.      At the time of Edward Danley's fall, Defendants violated the duty to follow safety

rules and standards to maintain their loading facility and/or premises in a reasonably safe

condition to prevent Edward Danley and others from foreseeable workplace dangers. 25




22
     29 C.F.R. § 1910.9(b).
23
     29 C.F.R. § 1910.9(b).
24
     AMI Civ. 305 (2015).
25
  AMI Civ. 1104 (2015); 29 C.F.R. § 1910.176(c); Carton v. Missouri Pac. R.R., 303 Ark. 568, 798 S.W.2d 674
(1990); Madison Foods, Inc. v. Marshall, 630 F.2d 628 (8th Cir. 1980).
                                                       9
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            63.      At the time of Edward Danley's fall, Defendants violated the duty to follow safety

rules and standards to protect Edward Danley from foreseeable workplace dangers of which

Defendants knew or should have known about for the safety of Edward Danley and others.26

            64.      At the time of Edward Danley's fall, Defendants violated the duty to adopt and

follow safety rules and standards to protect Edward Danley of the foresseable risk of losing his

balance from Tall Oil.

            65.      At the time of Edward Danley's fall, Defendants violated the duty to adopt and

follow safety rules and standards to protect Edward Danley from the foresseable risk of falling

from the platform.

            66.      At the time of Edward Danley's fall, Defendants violated the duty to provide and

maintain clean and dry surfaces on the platform and on the passageways and stairs used to access

the platform for the safety of Edward Danley.

            67.      At the time of Edward Danley's fall, Defendants violated the duty to have a

guard rail on the front (north) side of the platform or have other safeguards from falls for the

safety of Edward Danley and others. 27

            68.      At the time of Edward Danley's fall, Defendants violated the duty to follow

safety rules and standards to protect Edward Danley from losing his footing on dangers he might

discover, for his safety and others. 28

            69.      At the time of Edward Danley's fall, Defendants violated the duty to follow

safety rules and standards to anticipate dangerous conditions that would cause physical harm,




26
  DeVazier v. Whit Davis Lumber Co., 257 Ark. 371, 516 S.W.2d 610 (1974); 29 C.F.R. § 1910.176(c); Madison
Foods, Inc. v. Marshall, 630 F.2d 628 (8th Cir. 1980).
27
     29 C.F.R. l 91~:23(a)(l)(b)(3)(c)(l)(3)(e)(3)(v)_(c).
28
     DeVazier v. Whit Davis Lumber Co., 257 Ark. 371, 516 S.W.2d 610 (1974).
                                                             10
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regardless if such dangerous conditions were open and obvious, for the safety of Edward Danley

and others. 29

           70.      At the time of Edward Danley's fall, Defendants violated the duty to follow safety

rules and standards to inspect the loading facility and premises to discover the actual condition of

the premises for the safety of Edward Danley and others. 30

           71.      At the time of Edward Danley's fall, Defendants violated the duty to follow

safety rules and standards to institute a training program for employees to teach them how to

inspect the loading facility and/or premises to discover the actual condition of the premises for

the safety of Edward Danley and others. 31

           72.      At the time of Edward Danley's fall, Defendants violated the duty to follow safety

rules and standards to provide training to employees to teach them how to inspect the loading

facility and

           73.      premises to discover the actual condition of the premises for the safety of Edward

Danley and others. 32

           74.      At the time of Edward Danley's fall, Defendants violated the duty to follow safety

rules and standards to warn of dangerous conditions discovered following inspection of the

loading facility and/or premises for the safety of Edward Danley and others, both before and at

the time of the Edward Danley's fall. 33



29
  Cartonv. Missouri Pac. R.R, 303 Ark. 568, 798 S.W.2d674 (1990); Kuykendallv. Newgent, 255 Ark. 945, 504
S.W.2d 344 (1974); 29 C.F.R. § l 910.1769(c); Madison Foods, Inc. v. Marshall, 630 F.2d 628 (8th Cir. 1980).
30Carton v. Missouri Pac. R.R., 303 Ark. 568, 798 S.W.2d 674 (1990); Restatement Secondo/Torts§ 343 cmt b
(1965); 29 C.F.R. § 1910.176(c); Madison Foods, Inc. v. Marshall, 630 F.2d 628 (8th Cir. 1980).
31
     29 C.F.R. § 1910.9(b).
32
     29 C.F.R. § 1910.9(b).
33
  Kelleyv. National Union Fire Ins. Co., 327 Ark. 329, 937 S.W.2d 660 (1997); Jenkins v. Hestand's Grocery, 320
Ark. 485, 898 S.W.2d 30 (1995); Restatement Secondo/Torts§ 343 cmt b (1965).
                                                       11
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            75.      At the time of Edward Danley's fall, Defendants violated the duty to follow

safety rules and standards to institute a training program for employees to teach them how to

warn of dangerous conditions discovered following inspection of the loading facility and

premises for the safety of Edward Danley and others. 34

            76.      At the time of Edward Danley's fall, Defendants violated the duty to follow

safety rules and standards to provide training to employees to teach them how to warn of

dangerous conditions discovered following inspection of the loading facility and premises for the

safety of Edward Danley and others. 35

           77.       At the time of Edward Danley's fall, Defendants violated the duty to follow safety

rules and standards to repair the premises after discovering the defective condition for the safety

of Edward Danley and others. 36

           78.       At the time of Edward Danley's fall, Defendants violated the duty to follow safety

rules and standards to institutr. a training program for employees to teach them how to repair the

premises after discovering the defective condition for the safety of Edw~d Danley and others. 37

           79.       At the time of Edward Danley's fall, Defendants violated the duty to follow safety

rules and standards to provide training to employees to teach them how to repair the premises

after discovering the defective condition for the safety of Edward Danley and others. 38

           80.       At the time of Edward Danley's fall, Defendants violated the duty to follow

safety rules and standards to use ordinary care for the safety of Edward Danley and others. 39



34
     29 C.F.R. § 1910.9{b).
3
 '   29 C.F.R. § 1910.9(b).
36
     Trent v. KMS, Inc., 55 Ark. App. 355, 935 S.W.2d 6 (1996); Restatement Secondo/Torts§ 343 cmt d (1965).
37
     29 C.F.R. § I 910.9(b).
38
     29 C.F.R. § 1910.9(b).
39
     AMI Civ. 305 (2015).
                                                         12
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            81.     At the time of Edward Danley's fall, Defendants violated the duty to hire only

employees with the skills and aptitude needed to follow the safety rules and standards listed

above and to supervise their performance to ensure the employees complied with the safety rules

listed above. At the time of the Edward Danley's fall, Defendants needlessly endangered

Edward Danley and others by violating the safety rules and standards listed above.

                  CAUSATION OF THE DANLEY'S INJURIES AND DAMAGES

           82.      The injuries and damages sustained by the Danleys, more particularly described

below, were produced in a natural and continuous sequence from Defendants' violation of one or

more of the above described safety rules, duties, and standards.40

           83.      The injuries and damages sustained by the Danleys were a probable consequence

from Defendants' violation of one or more of the above described safety rules, duties, and

standards. 41

           84.      Workplace premises liability injuries are a foreseeable risk of harm, as

approximately 25% of reported workplace injuries each result from the workplace being

maintained in an unreasonably safe condition.

           85.      Hundreds of thousands of workers fall each year, and hundreds of workers are

killed

           86.      Fractured bones result from approximately 5% of these falls.

           87.      Falls are the most common cause of lost work time.

           88.      Approximately 22% of falls cause over 31 days of missed work.

           89.      Approximately 8 million emergency room visits are made for slips, trips and falls

an annual basis.


40
     AMI Civ. 501 (2015).
                                                      .. ·--···   ---   -
41
     Ouachita Wilderness Inst. v. Mergen, 329 Ark. 405, 415, 947 S.W.2d     780, 785 (i997).
                                                          13
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           90.     Defendants should have foreseen and anticipated that a violation of one or more

of the above described safety rules, duties, and standards would constitute an appreciable risk of

harm to others, including the Danleys. 42

           91.      If the Defendants had not violated one or more of the above described safety

rules, duties, and standards, then the Danleys' injuries and damages would not have occurred. 43

                 COMPENSATORY DAMAGES SUSTAINED BY THE DANLEYS

           92.     The injuries and damages sustained by Edward Danley because of Defendants'

violation of one or more of the above described safety rules, duties, and standards, include but

are not limited to:

                   A.       Serious and permanent bodily injuries to Edward Danley's
                            neck, back, and other parts of his body, which is a life-
                            altering event causing Edward Danley to lose the ability to
                            enjoy a normal quality of life, and depriving him of the
                            right to live his life in comfort and ease without added
                            inconvenience or diminution of physical vigor; 44

                   B.       Aggravation of a condition(s) already then existing at the
                            time of Edward Danley's fall that predisposed Edward
                            Danley to injury to a greater extent than another person; 45

                   C.       Medical expenses incurred in the past and reasonably
                            expected to be incurred, and transportation expenses to
                            obtain such medical treatment; 46 ·


42
  State Farm Mut. Auto. Ins. Co. v. Pharr, 305 Ark. 459, 464, 808 S.W.2d 769, 771-72 (199I)(following Machine,
Inc. v. Wallace, 268 Ark. 192, 600 S.W.2d 1 (1980)).
43
     AMI Civ. 501 (2015).
44
  AMI Civ. 2202 (2015); Sanson v. Allinson, 2014 Ark. App. 619, 447 S.W.3d 151; Gross & Janes Co. v. Brooks,
2012 Ark. App. 702, 425 S.W.3d 795; Graftenreedv. Seabaugh, 100 Ark. App. 364, 268 S.W.3d 905 (2007);
Fayetteville Diagnostic Clinic v. Turner, 344 Ark. 490, 42 S.W.3d 420 (2001); Wheelerv. Bennett, 312 Ark. 411,
849 S.W.2d 952 (1993); Adkins v. Kelley, 244 Ark. 199, 424 S.W.2d 373 (1968) (quoting Henry Woods, Earnings
and Earning Capacity as Elements of Danger in.Pe.rsonal Injw:y .[..J~!gation, 1_~ Ark. L. Rev. 304, 305 (1964)).
45
   AMI Civ. 2203 (2015); Sanson v. Allinson, 2014 Ark. App. 619, 447 S.W.3d 151; Primm v. US. Fid & Guar.
Ins. Corp., 324 Ark. 409, 922 S.W.2d 319 (1996); Owen v. Dix, 210 Ark. 562, 196 S.W. 319 (1946); see also
Kudabeck v. Kroger Co., 338 F.3d 856 (8th Cir. 2003); Tedder v. Am. Rai/car Indus., 739 F.3d 1104 (8th Cir. 2014).
46
  AMI Civ. 2204 (2015); Gross & Janes Co. v. Brooks, 2012 Ark. App. 702, 425 S.W.3d 795; Graftenreedv.
Seabaugh, 100 Ark. App. 364, 268 S. W.3d 905 (2007); Fayetteville Diagnostic Clinic v. Turner, 344 Ark. 490, 42
S.W.3d 420 (2001); Wal-Mart Stores, Inc. v. Kelton, 305 Ark. 173, 806 S.W.2d 373 (1991); Honeycutt v. Walden,
                                                        14
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                   D.       Physical pain and suffering experienced in the past and
                            reasonably expected to be experienced; 47

                   E.       Loss of income in the past, including but not limited to
                            hiring a substitute driver, 48 and loss of income reasonably
                            expected to be experienced;49

                   F.       Loss of earning capacity due to permanent physical
                            impairment from the injuries caused by Edward Danley's
                            fall·so
                                '
                   G.       Mental anguish experienced in the past and reasonably
                            expected to be experienced, which includes but is not
                            limited to Edward Danley's loss of quality of life due to
                            permanent injuries causing chronic pain that limits his
                            activities; 51

                  H.        The reasonable expense of any necessary help in Edward
                            Danley's home in the past, and reasonably certain to be
                            required because of his injuries injuries. 52


294 Ark. 440, 743 S.W.2d 809 (1988); Matthews v. Rodgers, 279 Ark. 328, 651 S.W.2d 453 (1983); Williams v.
Gates, 275 Ark. 381, 630 S.W.3d 34 (1982); Haney v. Noble, 250 Ark. 557, 466 S.W.2d 467 (1971) (citing Belford
v. Humphrey, 244 Ark. 211, 424 S.W.2d 526 (1968)).
47
  AMI Civ. 2205 (2015); Fayetteville Diagnostic Clinic v. Turner, 344 Ark. 490, 42 S.W.3d 420 (2001); RLI Ins.
Co. v. Coe, 306 Ark. 337, 813 S.W.2d 783 (1991); Bill Davis Trucking, Inc. v. Prysock, 301 Ark. 387, 784 S.W.2d
755 (1990); Handy Dan Home Improv. Center, Inc. v. Peters, 286 Ark. 102, 689 S.W.2d 551 (1985).
48
  AMI Civ. 3d 2206 (2013); Swenson v. Hampton, 244 Ark. 104, 424 S.W.2d 165 (1968); Cates v. Brown, 278 Ark.
242, 645 S. W .2d 658 (1983); Sharp v. Great Southern Coaches, Inc., 256 Ark. 773, 510 S. W.2d 266 (1974); John
Hancock Mut. Life Ins. Co. v. Magers, 199 Ark. 104, 132 S.W.2d 841 (1939); Herny Woods, Earnings and Earning
Capacity as Elements ofDanger in Personal Injury litigation, 18 Ark L. Rev. 305, 308-09 (1965).
49
  AMI Civ. 2206 (2015); Swenson v. Hampton, 244 Ark. 104, 424 S.W.2d 165 (1968); Cates v. Brown, 278 Ark.
242, 645 S. W.2d 658 (1983).
50
  AMI Civ. 2207 (2015); Sanson v. Allinson, 2014 Ark. App. 619, 7, 447 S.W.3d 151; Gross & Janes Co. v.
Brooks, 2012 Ark. App. 702, 425 S.W.3d 795; Graftenreedv. Seabaugh, 100 Ark. App. 364, 268 S.W.3d 905
(2007); Collins v. Hinton, 327 Ark. 159, 937 S.W.2d 164 (1997); Gipson v. Garrison, 308 Ark. 344, 824 S.W.2d
829 (1992); Bill Davis Trucking, Inc. v. Prysock, 301 Ark. 387, 784 S. W.2d 755 (1990); West Union v. Vostatek,
302 Ark. 219, 788 S.W.2d 952 (1990); Honeycutt v. Walden, 294 Ark. 440, 743 S.W.2d 809 (1988); Haneyv. Noble,
250 Ark. 557, 466 S.W.2d 467 (1971); Blissettv. Frisby, 249 Ark. 235, 458 S.W.2d 735 (1970); Hogan v. Hill, 229
Ark. 758, 318 S.W.2d 580 (1958); Britt Trucking Co. v. Ringgold, 209 Ark. 769, 192 S.W.2d 532 (1946).
51
   AMI Civ. 2205 (2015); RLI Ins. Co. v. Coe, 306 Ark. 337, 813 S.W.2d 783 (1991); Chicago, RI. & P. Ry. Co. v.
Caple, 207 Ark. 52, 179 S.W.2d 151 (1944); Scott-Burr Stores Corp. v. Foster, 197 Ark. 232, 122 S.W.2d 165
(1938); Howard W. Brill, Law of Damages§ 29 (5th ed. Thompson West 2004).
Sl AMI Civ. 2209 (2015); Gross & Janes Co. v. Brooks, 2012 Ark. App. 702, 425 S.W.3d 795; Carr v. Nance, 20l0
Ark. 497, 370 S. W.3d 826; Jackson v. United States, 526 F. Supp. LL49 (E.D. Ark. 1981),_g.ff'_d,..9.9-§.f.4~ 99~_(fil~.
Cir. 1982); Perkins Oil Co. of Del. v. Fitzgerald, 197 Ark. 14, 121 S.W.4d 877 (1938).
                                                           15
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           93.      The separate Plaintiff, Rena Danley, is the spouse of the injured Plaintiff, Edward

Danley.

           94.      Rena Danley s'.lstained damages for the loss of services, society, companionship,

and marriage relationship of her husband.

           95.      Rena Danley should be fully and fairly compensated for loss of consortium

damages.

           96.      Defendants' violation of one or more of the above described safety rules, duties,

and standards proximately caused Rena Danley's loss of consortium damages. 53

                                            PUNITIVE DAMAGES

           97.      Besides the compensatory damages for actual losses and damages sustained by

Plaintiffs, the Danleys should also be awarded punitive damages to deter other wrongdoers and

to punish the Defendants because their violation of one or more of the above described safety

rules, duties and standards were willfull, wanton, and reckless.

           98.      Defendants knew or ought to have known, in light of the viscous and slippery

nature and properties of Tall Oil Soap, that allowing it to accwnulate on the ground, the stairs,

and the platform 15-20 feet above the ground would naturally and probably result in injury. 54

           99.      Despite this knowledge, Defendants continued to allow Tall Oil Soap to remain

on the ground, the stairs, and the platform 15-20 feet above the ground on Defendants premises,

which shows a conscious indifference to the health and safety of Edward Danley and others, and




53
     AMI Civ. 2211 (2015); Mo. Pac. Trans. Co. v. Miller, 227 Ark. 351, 299 S.W.2d 41 (1957).
54
     Carr v. Nance, 2010 Ark. 497, 370 S.W.3d 826 (2010).
                                                         16
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a conscious disregard of a known risk of hann to Edward Danley and others from which malice

may be inferred. 55

           100.    Defendants' lack of.effort to repair or clean the Tall Oil Soap from their premises,

or have a training program or provide training or to supervise their employees to repair or clean

the Tall Oil Soap from their premises, constitutes a reckless disregard of the consequences from
                                    56
which malice may be inferred.

           101.    Defendants' willful, wanton, and reckless violation of one or more of the above

described safety rules, duties and standards, as well as their conscious indifference about the

safety of their premises, resulted in injuries and damages to Edward Danley. 57

                                          AMOUNT OF DAMAGES

           102.    The injuries and damages sustained by the Danleys are in excess of the minimum

amount required for federal court jurisdiction in diversity of citizenship cases, for which the

Danleys should be awarded a judgment against Defendants in an amount to fully and fairly

compensate them for each and every element of damages sustained.

                                         DEMAND FOR JURY TRIAL

           103.    The Danleys demand a jury trial for all issues of fact presented by this action.

                             RESERVATIONS OF ADDITIONAL CLAIMS

           104.    The Danleys reserve the right to plead further upon completion of discovery to

state additional claims and to name additional parties to this action.




ss Arrow Int'/ v. Sparks, 81 Ark. App. 42, 98 S.W.3d 48 (2003).
56
     AMI Civ. 2218 (2015).
57
 BMW ofN. Am. v. Gore, 517 U.S. 559, 577, 116 S. Ct. 1589, 1599 (1996) ("infliction of economic injury ... can
warrant a substantial penalty").
                                                        17
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        WHEREFORE, premises considered, the Danleys pray that Summons be issued for each

Defendant and that following a jury trial, they be awarded a judgment against the Defendants in

an amount that will fully compensate them for all elements of damages sustained, and in an

amount in excess of that required for federal court jurisdiction in diversity of citizenship cases;

that they recover punitive damages and attorneys' fees, costs expended, and have and receive all

other proper relief to which they may be entitled in the premises.




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                                Attorneys for Plaintiffs




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               IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ARKANSAS
                                 2ND CIVIL DIVISION


EDWARD A. DANLEY, and                                                                PLAINTIFFS
RENA DANLEY

v.                                            35CV-15-332

MONDI BAGS USA, LLC,                                                              DEFENDANTS
GRAPIDC PACKAGING INTERNATIONAL, INC.,
DELTA NATURAL KRAFT, LLC, and
JOHN DOES 1-5

                 PLAINTIFF'S REQUESTS FOR ADMISSIONS
     PROPOUNDED TO SEPARATE DEFENDANT, DELTA NATURAL KRAFT, LLC


        Comes now the Plaintiffs, Edward A. Danley and Rena Danley, and propounds the

following requests for admissions of fact to the Separate Defendant, Delta Natural Kraft, LLC

("Delta Natural Kraft"), to be answered within 45 days from service and in the manner required

by law, and verified under oath, by Delta Natural Kraft specifically admitting or denying the

following facts. Delta Natural Kraft is hereby further advised that a failure to specifically answer

any Request for Admission or an evasive answer to any Request for Admission shall be taken as

an admission of the truth of such requests. A true and correct copy of these Requests for

Admissions is being delivered to the Clerk of this Court for filing as a permanent court record

therein. The facts that you are requested to admit or deny are as follows:

        REQUEST FOR ADMISSION 1: Admit this Court has jurisdiction over the parties to

this action.

        REQUEST FOR ADMISSION 2: Admit this Court has jurisdiction over the subject

matter of this action.

        REQUEST FOR ADMISSION 3: Admit venue is proper in this Court for this action.
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        REQUEST FOR ADMISSION 4: Admit process and service of process upon Delta

Natural Kraft is sufficient for this action.

        REQUEST FOR ADMISSIONS: Admit Plaintiffs' Complaint has stated facts upon

which relief can be granted.

        REQUEST FOR ADMISSION 6: Admit that there are no other parties who are

required to be joined as a party to this action.

        REQUEST FOR ADMISSION 7: Admit Delta Natural Kraft was at fault in causing

the fall on Defendants' premises as described in the Complaint filed herein that occurred on July

11, 2012, and which is the subject of this action (hereinafter referred to as "fall" and "premises").

        REQUEST FOR ADMISSION 8: Admit that the Plaintiff was not at fault in causing

the fall that is the subject of this action.

        REQUEST FOR ADMISSION 9: Admit that no third party contributed to or was at

fault in causing the fall that is the subject of this action.

        REQUEST FOR ADMISSION 10: Admit that Delta Natural Kraft owned an interest in

the premises on the date of thP. fall.

        REQUEST FOR ADMISSION 11: Admit that Delta Natural Kraft had a right of

control of the premises on the date of the fall.

        REQUEST FOR ADMISSION 12: Admit that at the time of the fall that is the basis of

this lawsuit, the Plaintiff was an "invitee" on Defendant's premises as that term is known in the

law relative to someone using another's premises from the property owner's or operator's

express or implied invitation to use the premises.

        REQUEST FOR ADMISSION 13: Admit that the Delta Natural Kraft actually knew of

the existence of the unguarded front (north) side of the platform from which Plaintiff fell



                                                     2
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(hereinafter referred to as the "platform"), before the Plaintiffs fall from the platform that is the

basis of this lawsuit.

        REQUEST FOR ADMISSION 14: Admit that Delta Natural Kraft actually knew of the

existence of Tall Oil Soap residue that coated the platform before the fall that is the basis of this

lawsuit.

        REQUEST FOR ADMISSION 15: Admit that the unguarded north side of the platform

located on Defendant's premises was a dangerous condition.

        REQUEST FOR ADMISSION 16: Admit that the Tall Oil Soap residue coating the

ground, stairs, and platform located on the Defendant's premises was a dangerous condition.

        REQUEST FOR ADMISSION 17: Admit that Delta Natural Kraft directed the

Plaintiff, Edward A. Danley, to park his truck and tanker trailer near the slippery, unguarded

north side of the platform..

        REQUEST FOR ADMISSION 18: Admit that after the fall Delta Natural Kraft caused

the Tall Oil Soap residue to be removed from the platform.

        REQUEST FOR ADMISSION 19: Admit that sometime before and on July 11, 2012,

Delta Natural Kraft allowed the front (north) side of the platform to remain unguarded.

        REQUEST FOR ADMISSION 20: Admit that sometime before or on July 11, 2012,

Delta Natural Kraft allowed the platform to become coated in Tall Oil Soap.

           REQUEST FOR ADMISSION 21: Admit that on July 11, 2012, before the fall, Delta

Natural Kraft failed to warn the Plaintiff Edward A. Danley about the slippery, unguarded north

side of the platform.




                                                   3
       Case 5:15-cv-00353-JM Document 1 Filed 11/04/15 Page 32 of 72




       REQUEST FOR ADMISSION 22: Admit that on July 11, 2012, that the Plaintiffs fall

on Delta Natural Kraft's premises caused the Plaintiff Edward A. Danley to suffer serious and

permanent bodily injuries to his neck, back, and other parts of his body.

       REQUEST FOR ADMISSION 23: Admit that Delta Natural Kraft had a duty to follow

safety rules and standards to maintain their loading platform and premises in a reasonably safe

condition.

       REQUEST FOR ADMISSION 24: Admit that Delta Natural Kraft had a duty to follow

safety rules and standards to protect the Plaintiff Edward A. Danley from foreseeable workplace

dangers about which Delta Natural Kraft knew or should have known about.

       REQUEST FOR ADMISSION 25: Admit that Delta Natural Kraft knew or should have

known that a person losing their footing on surfaces covered with Tall Oil Soap was a

foreseeable risk.

       REQUEST FOR ADMISSION 26: Admit that Delta Natural Kraft knew or should have

known that falls from the loading platform from which Plaintiff Edward A. Danley fell were a

foreseeable risk.

       REQUEST FOR ADMISSION 27: Admit that Delta Natural Kraft was required to

provide and maintain clean and dry surfaces on the platform and on the passageways and stairs

used to access the platform.

        REQUEST FOR ADMISSION 28: Admit that Delta Natural Kraft was required to have

a guard rail or other suitable protections on the front (north) side of the platform.

        REQUEST FOR ADMISSION 29: Admit that Delta Natural Kraft was required to

follow safety rules and standards to protect Plaintiff Edward A. Danley from dangers he might

discover.



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•.


            REQUEST FOR ADMISSION 30: Admit that Delta Natural Kraft was required to

     follow safety rules and standards to anticipate dangerous conditions that would cause physical

     harm, regardless if such dangerous conditions were open and obvious.

             REQUEST FOR ADMISSION 31: Admit that Delta Natural Kraft was required to

     follow safety rules and standards to inspect the loading facility and premises to discover the

     actual condition of the premises for the safety of the Plaintiff Edward A. Danley and others.

            REQUEST FOR ADMISSION 32: Admit that Delta Natural Kraft was required to

     follow safety rules and standards to institute a training program for employees to teach them how

     to inspect the loading facility and premises to discover the actual condition of the premises for

     the safety of the Plaintiff Edwnd A. Danley and others.

            REQUEST FOR ADMISSION 33: Admit that Delta Natural Kraft was required to

     follow safety rules and standards to provide training to employees to teach them how to inspect

     the loading facility and/or premises to discover the actual condition of the premises for the safety

     of the Plaintiff Edward A. Danley and others.

            REQUEST FOR ADMISSION 34: Admit that Delta Natural Kraft was required to

     follow safety rules and standards to warn of dangerous conditions discovered following an

     inspection of the loading facility and premises.

            REQUEST FOR ADMISSION 35: Admit that Delta Natural Kraft was required to

     follow safety rules and standards to institute a training program for employees to teach them how

     to repair the premises after discovering a defective condition.

            REQUEST FOR ADMISSION 36: Admit that Delta Natural Kraft was required to

     follow safety rules and standards and provide training to employees to teach them how to repair

     the premises after discovering the defective condition.



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            Case 5:15-cv-00353-JM Document 1 Filed 11/04/15 Page 34 of 72
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            REQUEST FOR ADMISSION 37: Admit Delta Natural Kraft was required to follow

     safety rules and standards to use ordinary care for the safety of the Plaintiff Edward A. Danley

     and others.

            REQUEST FOR ADMISSION 38: Admit that Delta Natural Kraft was required to hire

     only employees with the skills and aptitude needed to follow the safety rules and standards listed

     above and to supervise their performance to ensure the employees complied with the safety rules

     and standards listed above.

            REQUEST FOR ADMISSION 39: Admit that the negligence of Delta Natural Kraft

     was a proximate cause of the Plaintiff Edward A. Danley's injuries.

            REQUEST FOR ADMISSION 40: Admit that if you do not respond to these Requests

     for Admissions, it is because you are liable for all of the Plaintiffs' injuries and damages, and

     because· you are completely at fault without any defense to the Plaintiffs' Complaint filed herein.

            Dated this 29th day of September, 2015.




                                            Respectfully submitted,

                                            Don P. Chaney, AR BIN 78027
                                            Nathan P. Chaney, AR BIN 2004109
                                            S. Taylor Chaney, AR BIN 2010011
                                            P.O. Box 1405
                                            Arkadelphia, AR 71923
                                            Email: don@chaneylaw.com
                                            Telephone: 870-246-0600
                                            Telefax: 870-     602




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                 Case 5:15-cv-00353-JM Document 1 Filed 11/04/15 Page 35 of 72

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             .




                                       And

                                       Robert C. Williamson
                                       David Baria
                                       Baria-Williamson, PLLC
                                       4316 Old Canton Road, Suite lOOA
                                       Jackson, MS 39211
                                       Email: rcw@barialaw.com
                                       Telephone: 601-948-6005
                                       Telefax: 601-948-0306

                                       Attorneys for Plaintiffs




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Case 5:15-cv-00353-JM Document 1 Filed 11/04/15 Page 36 of 72


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   Chaney Law Firm
   526 Main Street
   5uite204
   p .0. Box 1405
   Alt<adelphia, AR 71923




                                         Corporation Service Company
                                         Registered Agent for Service of Process
                                         for Delta Natural Kraft, LLC
                                         300 Spring Building. Suite 900
                                         300 South Spring Street
                                         Little Rock, Arkansas 72201




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          Case 5:15-cv-00353-JM Document 1 Filed 11/04/15 Page 37 of 72




                             CHANE"V LAW FIRM,                  P.A.
                                         P.O. Box 1405
                                    526 Main Street, Suite 204
                                   Arkadelphia, Arkansas 71923
                                      Phone: {870) 246-0600
Donald Price Chaney, Jr.              www.chaneylaw.com                             Facsimile: (866) 734-0971
Nathan Price Chaneyt:                                                   Writer's Email: Don@chaneylaw.com
Hilary Martin Chaney                                                             t Registered Patent Attorney
Sterling Taylor Chaney                                                                : Also licensed in Texas




                                        September 29, 2015

CERTIFIED MAIL NO.: 7014 1820 0002 0927 0445

Corporation Service Company
Registered Agent for Service of Process
For Mondi Bags USA, LLC
300 Spring Building, Suite 900
300 South Spring Street
Little Rock, Arkansas 72201


        RE:     Edward A. Danley and Rena Danley v. Mondi Bags USA, LLC;
                Graphic Packaging International, Inc.; Delta Natural Kraft, LLC;
                and John Does 1-5
                Jefferson County Circuit No.: 35CV-2015-332


Dear Corporation Service Company:

        As an attorney for the Plaintiffs in the above action, I am serving you as the registered
agent for service of process for Mondi Bags USA, LLC, with ( 1) the Complaint filed in this
action; (2) a Summons explaining what actions must be taken; and (3) a set of Requests for
Admissions to be answered.

        Service of process is being completed upon you pursuant to Rule 4 of the Arkansas Rules
of Civil Procedure.

        The company for which you have accepted service of process has thirty (30) days from
your receipt hereof in which to answer or otherwise plead to the allegations of the Complaint and
(45) days to answer lhe Request for Admissions. If it fails to do so, the Court may grant the
Plaintiffs all relief requested in the Complaint without further notice to you or the company for
which you have accepted service of process. I would urge you to immediately notify the
company for which you have accepted service to consult its corporate attorney, and to notify its
insurance carrier at once about this service of legal process upon you to commence this lawsuit.
        Case 5:15-cv-00353-JM Document 1 Filed 11/04/15 Page 38 of 72




      Letter to Corporation Service Company
      September 29, 2015
      Page2of2




                                          /Jo/!
                                              Don P. Chaney

DPC/kmm
Enclosures

cc:   Mr. Robert C. Williamson
      Mr. David Baria
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           IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ARKANSAS
                              CIVIL DIVISION

EDWARD A. DANLEY and                           2-rt d                                  PLAINTIFF
RENA DANLEY
v.                                        35CV-2015 ~3V
MONDI BAGS USA, LLC;                                                                 DEFENDANT
GRAPHIC PACKAGING INTERNATIONAL, INC.;
DELTA NATURAL KRAFT, LLC; and
JOHN DOES 1-5

                                             SUMMONS

The State of Arkansas to Defendant:
Mondi Bags USA, LLC
C/O Corporation Service Company,
As Registered Agent for Service of Process
300 Spring Building, Suite 900
300 S. Spring Street
Little Rock, AR 72201

A lawsuit has been filed against you. The relief demanded is stated in the attached complaint. Within
30 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are incarcerated in any jail, penitentiary, or other correctional facility in Arkansas -you must
file with the clerk of this court a written answer to the complaint or a motion under Rule 12 of the
Arkansas Rules of Civil Procedure.

The answer or motion must also be served on the plaintiff or plaintiff's attorney, whose name and
address are: Don P. Chaney, CHANEY LAW FIRM, P.A., P.O. Box 1405, Arkadelphia, Arkansas
71923.

If you fail to respond within the applicable time period, judgment by default may be entered against
you for the relief demanded in the complaint.
                                                       LAFAYETTE WOODS,
                                                       ~~·--·---· ·-· -
                                                                        SR.,
                                                                         --·-
                                                                              Circuit
                                                                               ·-.
                                                                                       Clerk
                                                                                    -- --··---·-
Address of Clerk's Office:                             CLERK OF COURT
Jefferson Circuit Court
Jefferson County Circuit
101 E Barraque St.
Pine Bluff, Arkansas 716

                                                       Date:        JUL 1 0 2015

                                       PROOF OF SERVICE

O I personally delivered the summons and complaint to the individual a t - - - - - - - - - -
- - - - - - - - - - - - - - - - - - [ p l a c e ] on _ _ _ _ _ _ _ _ [date]; or

0 I left the summons and complaint in the proximity of the individual b y - - - - - - - - - -
                                 after he/she refused to receive it when I offered it to him/her; or
------------                                       }
          Case 5:15-cv-00353-JM Document 1 Filed 11/04/15 Page 40 of 72




D I left the summons and complaint at the individual's dwelling house or usual place of abode at _
_ _ _ _ _ _ _ _ [address] with                                          [name], a person at least 14
years of age who resides there, on                             [date]; or
0 I delivered the summons and complaint to                              [name of individual], an agent
authorized by appointment or by law to receive service of summons on behalf of _ _ _ _ _ __
_ _ _ _ _ _ _ _ [name of defendant] on                                  [date]; or

C I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons
and complaint on the defendant by certified mail, return receipt requested, restricted delivery, as
shown by the attached signed return receipt.

D I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I mailed a copy of the
summons and complaint by first-class mail to the defendant together with two copies of a notice and
acknowledgment and received the attached notice and acknowledgment form within twenty days
after the date of mailing.

D Other [ s p e c i f y ] : - - - - - - - - - - - - - - - - - - - - - - - - - - -

DI was unable to execute service because:
                                              ~-------------------~




My fee is$_ _ _ _ _ __

To be completed if service is by a sheriff or deputy sheriff:


Date:                                            SHERIFF OF _ _ _ COUNTY, ARKANSAS


By:
        [Signature of server]                    [Printed name, title, and badge number]


To be completed if service is by a person other than a sheriff or deputy sheriff:


Date:                                            By:
                                                           [Signature of server]
Address: - - - - - - - - - - -

                                                           [Printed name]
Phone: - - - - - - - - - - -
                                                           Additional information regarding
Subscribed and sworn to before me this date:               service or attempted service:
                                                           Complaint attached



Notary Public
My commission expires: _ _ _ _ _ _ __
                                                       2
         Case 5:15-cv-00353-JM Document 1 Filed 11/04/15 Page 41 of 72




               IN THE CIRCUIT COURT OF JEFFERSON, COUNTY, AR.KANSAS
                                  CIVIL DIVISION

EDWARD A. DANLEY and
                                                 z_"d                                PLAINTIFFS
RENA DANLEY

v.                                         35CV - 2015 -   -~-~_Y_
MONDI BAGS USA, LLC;                                                              DEFENDANTS
GRAPHIC PACK.AGING INTERNATIONAL, INC.;
DELTA NATURAL KRAFT, LLC; and
JOHN DOES 1-5



                                         COMPLAINT

          COME NOW the Plaintiffs, Edward A. Danley and Rena Danley (collectively "the

Danleys") and for their cause of action against Delta National Kraft, LLC ("Delta Kraft"),

Graphic Packaging International, Inc. ("GPI"), and Mondi Bags USA, LLC ('"Mondi USA"), and

state:

                                          THE PARTIES

          1.     The Danleys are adult residents of George County, Mississippi.

         2.      Delta Kraft is an Arkansas Limited Liability Company whose registered agent for

service of process is Corporation Service Company, 300 Spring Building, Suite 900, 300 S.

Spring Street, Little Rock, AR 72201.

          3.     Mondi USA, formerly Graphic Flexible Packaging, LLC, is a Delaware

Corporation qualified to do business in Arkansas whose registered agent for service of process is

Corporation Service Company, 300 Spring Building, Suite 900, 300 S. Spring St, Little Rock,

AR 72201.

         4.      GPI is a Delaware Corporation qualified to do business in Arkansas whose



Spring Building, Suite 900, 300 S. Spring Street, Little Rock, AR 72201SSUED AT
                                                                                      °i:Tl O'CLOCKZ
registered agent for service of process is The P-rentice.,,HalLCorporation System, Arl@nsas,_399._
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          Case 5:15-cv-00353-JM Document 1 Filed 11/04/15 Page 42 of 72




           5.      The fictitious John Doe Defendants, whether singµlar or plural, are those entity or

entities, or individual or individuals, who are or may be liable to the Danleys for the wrongful

conduct describedin this Complaint , or who may be responsible for the damages sustained by

the Danleys as described in this Complaint..

           6.      The Danleys aver the identities of these fictitious party defendants are unknown to

them or if their names are known to the Danleys, their identities as proper defendants are not

known to the Danleys and that their true names will be substituted by amendment when

ascertained.

           7.      Plaintiffs attorney's affidavit about the John Doe Defendants is included below.

                                       JURISDICTION AND VENUE

           8.      The Court has subject matter jurisdiction under the Arkansas Constitution.

          9.       Venue is proper as a substantial part of the events or omissions giving rise to the

claim occurred in Jefferson County, Arkansas. 1

           10.     Personal jurisdiction over each of the Defendants is proper under Arkansas

Code § 16-4101 because each of the Defendants is qualified to do business or doing business in

Arkansas and the events giving rise to this Complaint arose from their respective business

activities within Arkansas.

                                  DEFENDANTS' RELATIONSffiPS

           11.     GPI is a Fortune 1000 company who provides packaging for food, beverages and

other consumer products companies.

           12.     GPI is the wholly owned subsidiary of Graphic Packaging Corporation ("GPC"),

which is the wholly owned subsidiary of Graphic Packaging Holding Company ("GPHC"), a



1
    Ark. Code Ann.§ 16-55-213(a)(l).
                                                     2
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publicly traded company, neither of which conduct significant business or have independent

assets or operations. 2

          13.    On December 8, 2011, GPI combined its multi-wall bag and specialty plastics

packaging businesses with the Kraft paper and multi-wall bag businesses of Delta Kraft and Mid-

America Packaging, LLC (collectively "DNK"), both wholly owned subsidiaries of Capital Five

Investments, LLC ("CVI"). 3

          14.    Under the terms of the transaction, GPI formed a new limited liability company,

Graphic Flexible Packaging, LLC ("GFP") and contributed its ownership interests in multi-wall
                                                               4
bag and specialty plastics packaging subsidiaries to it.

          15.    CVI concurrently contributed its ownership interests in DNK to GFP. 5

          16.    Following the combination, GPI owned 87% of GFP and exercised complete

control over its day-to-day operations, making it effectively GPI's instrumentality. 6

          17.    On information and belief, GPI's control of GFP extended to the day-to-day

management and operations of a Kraft paper mill at 1701 Jefferson Parkway, Pine Bluff, AR

71602.

          18.    Ownership of the real property and mill itself was vested in Delta Kraft, which on

information and belief also was subject to GPI's control and a key component of GPI's operation

of the mill.




2
 Source: auditor's notesand comments to GHPC and its subsidiaries combined audited financial statements, 201 et
seq.
3
    Id.
4
    Id.
5
    Id.
6
    Id.
                                                        3
          Case 5:15-cv-00353-JM Document 1 Filed 11/04/15 Page 44 of 72




           19.     On June 30, 2014, Moni Romeoville, Inc. purchased all of the stock or
                                                                                            7
membership interests in GFP and changed its name to Mondi Bags USA, LLC.

                                        THE CAUSE OF ACTION

           20.     In converting pulp wood to paper, the Pine Bluff paper mill produced a by-

product called Crude Tall Oil or Tall Oil Soap.

           21.     Defendants shipped Tall Oil Soap by truck and rail to other plants for refinement

into substances used in consumer, industrial, and construction products.

           22.     Defendants required "top loading" of the truck tankers and rail tanker cars.

           23.     Tall Oil Soap is a dark viscous liquid, both smelly and slippery, and was

frequently spilled during the loading of truck and rail tankers at the mill ..

           24.     The Defendants required truckers to load their tanker trailers from a facility used

to load rail tanker cars, a four'-sided platform 15- 20 feet above the ground

           25.     Stairs from the ground below, opened on the rear (south) side of the rail car

loading platform.

           26.     Guard rails closed each end (east and west) of the rail car loading platform.

           27.     A hose connecting the storage tank of Tall Oil Soap to the tanker trailers or rail

tanker cars on the north side of the platform.

           28.     The front (north) side of the rail tanker car loading platform where the hose was

located was an unprotected opening.

           29.     Defendants required truckers to use the rail car tanker loading platform though it

knew there were safer alternative facilities, means and methods available.




7
    K & L Gates December 22, 2014 Letter to Akransas Department of Environmental Quality.
                                                        4
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           30.      Defendants required the truck tanker loading operations to continue at the facility

even when the surface of the platfonn, the stairs to the platform, and the ground around the

platform were contaminated with Tall Oil Soap.

           31.      On July 11, 2012, Edward Danley parked his truck and tanker trailer as directed

on the north side of the rail car loading platform to load Tall Oil Soap into his tanker trailer for

delivery to Graphic Packaging's plant in Monroe, Louisiana.

           32.      Edward Danley had to park at an angle to the platform rather than exactly parallel

because a rail tanker car was in the way.

           33.     After parking, Edward Danley exited his truck, climbed up onto the tanker trailer,

opened the dome hatch, climbed down the tanker trailer, and walked up the stairs to the platform.

           34.     The ground, the stairs, and the platform were covered with Tall Oil Soap.

           35.      The bottoms of Edward Danley's work boots were coated with Tall Oil Soap, and

he was forced, as a practical matter, to encounter a known or obvious risk to perform his job. 8

           36.     Once on the platform, Edward Danley pulled down the hose harness and placed it

in the open hatch.

           37.     As he turned around to go back down the stairs, Edward Danley's feet slipped out

from under him, and he fell backwards off the unguarded front (north) side of the platform 15-20

feet to the ground.

           38.      Edward Danley landed on his neck, back, shoulder, ribs and other body parts:

           39.      Edward Danley was transported to the Jefferson Regional Medical Center

emergency room for evaluation and tre_atn:J._ent.




8
    Carton v. Missouri Pac. R.R., 303 Ark. 568, 798 S.W.2d 674 (1990).
                                                          5
           Case 5:15-cv-00353-JM Document 1 Filed 11/04/15 Page 46 of 72
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           40.      The impact from the fall (hereinafter referred to as "Edward Danley's fall")

caused the bodily injuries and damages to Edward Danley described below.

           41.      At all times, Edward Danley was a business invitee of Defendants.

                                  DUTIES OWED BY DEFENDANTS

           42.      Defendants were required to follow safety rules and standards to maintain their

loading facility and premises in a reasonably safe condition to prevent Edward Danley and others

from foreseeable workplace dangers, both before and at the time of the Edward Danley's fall. 9

           43.      Defendants were required to follow safety rules and standards to protect Edward

Danley from foreseeable workplace dangers of which Defendants knew or should have known

about for the safety of Edward Danley and others, both before and at the time of the Edward

Danley's fall. 10

           44.      Defendants knew or should have known that a person loosing their footing on

surfaces covered with Tall Oil was a foreseeable risk.

           45.      Defendants knew or should have known that falls from the rail truck platform was

a foreseeable risk.

           46.      Defendants were required to provide and maintain clean and dry surfaces on the

platform and on the passageways and stairs used to access the platform for the safety of Edward
                                                                                 11
Danley and others both before and at the time of Edward Danley' s fall.




9
 AMI Civ. 1104 (2015); 29 C.F.R. § 1910.176(c); Carton v. Missouri Pac. R.R., 303 Ark. 568, 798 S.W.2d 674
(1990); Madison Foods, Inc. v. Marshall, 630 F.2d 628 (8th Cir. 1980).
10
  DeVazier v. Whit Davis Lumber Co., 257 Ark. 371, 516 S.W.2d 610 (1974); 29 C.F.R. § 1910.176(c); Madison
Foods, Inc. v. Marshall, 630 F.2d 628 (8th Cir. 1980).
11
     29 C.F.R. 19.10.23.

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            47.      Defendants were required to have a guard rail or other suitable protections on the

front (north) side of the platform for the safety of Edward Danley and others, both before and at

the time of Edward Danley' s fall. 12

            48.      Defendants were required to follow safety rules and standards to protect Edward

Danley from dangers he might discover, for his safety and others, both before and at the time of

Edward Danley's fall. 13

            49.      Defendants were required to follow safety rules and standards to anticipate

dangerous conditions that would cause physical harm, regardless if such dangerous conditions

were open and obvious, for the safety of Edward Danley and others, both before and at the time
                                  14
of Edward Danley's fall.

            50.      Defendants were required to follow safety rules and standards to inspect the

loading facility and premises to discover the actual condition of the premises for the safety of
                                                                                             15
Edward Danley and others, both before and at the time of Edward Danley's fall.

            51.      Defendants were required to follow safety rules and standards to institute a

training program for employees to teach them how to inspect the loading facility and premises to

discover the actual condition of the premises for the safety of Edward Danley and others, both

before and at the time of Edward Danley' s fall.. 16

            52.      Defendants were required to follow safety rules and standards to provide training

to employees to teach them how to inspect the loading facility and/or premises to discover the


12
     29 C.F.R. 1910.23(a)(l)(b)(3){c)(1)(3)(e){3)(v)(c).
13
     De Vaz ier v. Whit Davis Lumber Co., 25 7 Ark. 3 71, 516 S. W .2d 610 (197 4 ).
14
   Carton v. Missouri Pac. R.R., 303 Ark. 568, 798 S.W.2d 674 (1990); Kuykendall v. Newgent, 255 Ark. 945, 504
S. W.2d 344 (1974); 29 C.F.R. § 1910.1769(c); Madison Foods, 1nc. v. Marshall, 630 F.2d 628 (8th Cir. 1980).
15
  Carton v. Missouri Pac. R.R., 303 Ark. 568, 798 S.W.2d 674 (1990); Restatement Second of Torts§ 343 cmt b
(1965); 29 C.F.R. § 1910.176(c); Madison Foods, Inc. v. Marshall, 630 F.2d 628 (8th Cir. 1980).
16
     29 C.F.R. § 1910.9(b).
                                                               7
          Case 5:15-cv-00353-JM Document 1 Filed 11/04/15 Page 48 of 72




actual condition of the premises for the safety of Edward Danley and others, both before and at

the time of Edward Danley's fall .. 17

            53.     Defendants were required to follow safety rules and standards to warn of

dangerous conditions discovered following inspection of the loading facility and premises for the

safety of Edward Danley and others, both before and at the time of the Edward Danley's fall. 18

            54.     Defendants were required to follow safety rules and standards to institute a

training program for employees to teach them how to warn of dangerous conditions discovered

following inspection of the loading facility and/or premises for the safety of Edward Danley and

others, both before and at the time of the Edward Danley's fall. 19

           55.      Defendants were required to follow safety rules and standards to provide training

to employees to teach them how to warn of dangerous conditions discovered following

inspection of the loading facility andpremises for the safety of Edward Danley and others, both

before and at the time of the Edward Danley's fall. 20

           56.      Defendants were required to follow safety rules and standards to repair the

premises after discovering any defective conditions for the safety of Edward Danley and others,

both before and at the time of the Edward Danley's fall. 21

           57.      Defendants were required to follow safety rules and standards to institute a

training program for employees to teach them how to repair the premises after discovering any




17
     29 C.F.R. § 1910.9(b).
18
  Kelley v. National Union Fire Ins. Co., 327 Ark. 3:29, 937 S.W.2d 660 (1997); Jenkins v. Hestand's Grocery, 320
Ark. 485, 898 S. W.2d 30 (1995); Restatement Second of Torts§ 343 cmt b (1965).
19
     29 C.F.R. § 1910.9(b).
20
     29 C.F.R. § 1910.9(b).
21
     Trent v. KMS. Inc., 55 Ark. App. 355, 935 S. W.2d 6 (1996); Restatement Second of Torts§ 343 cmt d (l 965).
                                                           8
          Case 5:15-cv-00353-JM Document 1 Filed 11/04/15 Page 49 of 72




defective condition for the safety of Edward Danley and others, both before and at the time of the

Edward Danley's fall. 22

            58.     Defendants were required to follow safety rules and standards to provide training

to employees to teach them how to repair the premises after discovering the defective condition

for the safety of Edward Danley and others, both before and at the time of the Edward Danley's

fall.23

           59.      Defendants were required to follow safety rules and standards to use ordinary care

for the safety of Edward Danley and others, both before and at the time of the Edward Danley' s

fall.24

           60.      Defendants were required to hire only employees with the skills and aptitude

needed to follow the safety rules and standards listed above and to supervise their performance to

ensure the employees complied with the safety rules listed above.

           61.      Defendants were not allowed to needlessly endanger Edward Danley or anyone

else by violating the safety rules and standards listed above.

                               DUTIES VIOLATED BY DEFENDANTS

           62.      At the time of Edward Danley's fall, Defendants violated the duty to follow safety

rules and standards to maintain their loading facility and/or premises in a reasonably safe

condition to prevent Edward Danley and others from foreseeable workplace dangers. 25




22
     29 C.F.R. § 1910.9(b).
23
     29 C.F.R. § 1910.9(b).
24
     AMI Civ. 305 (2015).
25
  AMI Civ. 1104 (2015); 29 C.F.R. § 1910.l76(c); Carton v. Missouri Pac. R.R., 303 Ark. 568, 798 S.W.2d 674
(1990); Madison Foods, Inc. v. Marshall, 630 F.2d 628 (8th Cir. 1980).
                                                       9
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            63.      At the time of Edward Danley's fall, Defendants violated the duty to follow safety

rules and standards to protect Edward Danley from foreseeable workplace dangers of which

Defendants knew or should have known about for the safety of Edward Danley and others. 26

            64.      At the time of Edward Danley' s fall, Defendants violated the duty to adopt and

follow safety rules and standards to protect Edward Danley of the foresseable risk of losing his

balance from Tall Oil.

            65.      At the time of Edward Danley's fall, Defendants violated the duty to adopt and

follow safety rules and standards to protect Edward Danley from the foresseable risk of falling

from the platform.

            66.      At the time of Edward Danley's fall, Defendants violated the duty to provide and

maintain clean and dry surfaces on the platform and on the passageways and stairs used to access

the platform for the safety of Edward Danley.

            67.      At the time of Edward Danley's fall, Defendants violated the duty to have a

guard rail on the front (north) side of the platform or have other safeguards from falls for the

safety of Edward Danley and others. 27

           68.       At'the time of Edward Danley's fall, Defendants violated the duty to follow

safety rules and standards to protect Edward Danley from losing his footing on dangers he might

discover, for his safety and others. 28

            69.      At the time of Edward Danley's fall, Defendants violated the duty to follow

safety rules and standards to anticipate dangerous conditions that would cause physical harm,




26
  DeVazier v. Whit Davis Lumber Co., 257 Ark. 371, 516 S.W.2d 610 (1974); 29 C.F.R. § 1910.176(c); Madison
Foods, Inc. v. Marshall, 630 F.2d 628 (8th Cir. 1980).
27
     29 C.F.R. 1910.23(a)(l)(b)(3)(c)(1)(3)(e)(3)(v)(c).
28
     DeVazier v. Whit Davis Lumber Co., 257 Ark. 371, 516 S.W.2d 610 (1974).
                                                           10
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regardless if such dangerous conditions were open and obvious, for the safety of Edward Danley

and others. 29

           70.      At the time of Edward Danley's fall, Defendants violated the duty to follow safety

rules and standards to inspect the loading facility and premises to discover the actual condition of

the premises for the safety of Edward Danley and others. 30

           71.      At the time of Edward Danley's fall, Defendants violated the duty to follow

safety rules and standards to institute a training program for employees to teach them how to

inspect the loading facility and/or premises to discover the actual condition of the premises for

the safety of Edward Danley and others.31

           72.      At the time of Edward Danley's fall, Defendants violated the duty to follow safety

rules and standards to provide training to employees to teach them how to inspect the loading

facility and

           73.      premises to discover the actual condition of the premises for the safety of Edward

Danley and others. 32

           74.      At the time of Edward Danley's fall, Defendants violated the duty to follow safety

rules and standards to warn of dangerous conditions discovered following inspection of the

loading facility and/or premises for the safety of Edward Danley and others, both before and at

the time of the Edward Danley's fall. 33



29
  Carton v. Missouri Pac. R.R., 303 Ark. 568, 798 S.W.2d 674 (1990); Kuykendallv. Newgent, 255 Ark. 945, 504
S.W.2d 344 (1974); 29 C.F.R § 1910.1769(c); Madison Foods, Inc. v. Marshall, 630 F.2d 628 (8th Cir. 1980).
3
 °Carton v. Missouri Pac. R.R., 303 Ark. 568, 798 S.W.2d 674 (1990); Restatement Second of Torts§ 343 cmt b
(1965); 29 C.F.R. § 1910.176(c); Madison Foods, Inc. v. Marshall, 630 F.2d 628 (8th Cir. 1980).
31
     29 C.F.R. § 1910.9(b).
32
     29 C.F.R. § 1910.9(b).
33
   Kelley v. National Union Fire Ins. Co., 327 Ark. 329, 937 S.W.2d 660 (1997); Jenkins v. Hestand's Grocery, 320
Ark. 485, 898 S. W.2d 30 (1995); Restatement Second of Torts § 343 cmt b (1965).

                                                        11
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            75.     At the time of Edward Danley's fall, Defendants violated the duty to follow

safety rules and standards to institute a training program for employees to teach them how to

warn of dangerous conditions discovered following inspection of the loading facility and

premises for the safety of Edward Danley and others. 34

            76.     At the time of Edward Danley's fall, Defendants violated the duty to follow

safety rules and standards to provide training to employees to teach them how to warn of

dangerous conditions discovered following inspection of the loading facility and premises for the

safety of Edward Danley and others. 35

           77.      At the time of Edward Danley's fall, Defendants violated the duty to follow safety

rules and standards to repair the premises after discovering the defective condition for the safety

of Edward Danley and others. 36

           78.      At the time of Edward Danley's fall, Defendants violated the duty to follow safety

rules and standards to institute a training program for employees to teach them how to repair the

premises after discovering the defective condition for the safety of Edward Danley and others. 37

           79.      At the time of Edward Danley's fall, Defendants violated the duty to follow safety

rules and standards to provide training to employees to teach them how to repair the premises

after discovering the defective condition for the safety of Edward Danley and others. 38

           80.      At the time of Edward Danley's fall, Defendants violated the duty to follow

safety rules and standards to use ordinary care for the safety of Edward Danley and others. 39



34
     29C.F.R. § 1910.9(b).
35
     29 C.F.R. § 1910.9(b).
36
     Trent v. KMS, Inc., 55 Ark. App. 355, 935 S.W.2d 6 (1996); Restatement Second of Torts§ 343 cmt d (1965).
37
     29 C.F.R. § 1910.9(b).
38
     29 C.F.R. § 1910.9(b).
39
     AMI Civ. 305 (2015).
                                                          12
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            81.     At the time of Edward Danley' s fall, Defendants violated the duty to hire only

employees with the skills and aptitude needed to follow the safety rules and standards listed

above and to supervise their performance to ensure the employees complied with the safety rules

listed above. At the time of the Edward Danley's fall, Defendants needlessly endangered

Edward Danley and others by violating the safety rules and standards listed above.

                   CAUSATION OF THE DANLEY'S IN.JURIES AND DAMAGES

           82.      The injuries and damages sustained by the Danleys, more particularly described

below, were produced in a natural and continuous sequence from Defendants' violation of one or

more of the above described safety rules, duties, and standards.40

           83.      The injuries and damages sustained by the Danleys were a probable consequence

from Defendants' violation of one or more of the above described safety rules, duties, and

standards. 41

           84.       Workplace premises liability injuries are a foreseeable risk of harm, as

approximately 25% ofreported workplace injuries each result from the workplace being

maintained in an unreasonably safe condition.

           85.      Hundreds of thousands of workers fall each year, and hundreds of workers are

killed

           86.      Fractured bones result from approximately 5% of these falls.

           87.      Falls are the most common cause of lost work time.

           88.      Approximately 22% of falls cause over 31 days of missed work.

           89.      Approximately 8 million emergency room visits are made for slips, trips and falls

an annual basis.


40
     AMI Civ. 501 (2015).
                                                . ·-          -
41
     Ouachita Wilderness inst. v. Mergen, 329 Ark. 405, 415, 947 S.W.2d 780, 785 (1997).
                                                         13
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           90.     Defendants should have foreseen and anticipated that a violation of one or more

of the above described safety rules, duties, and standards would constitute an appreciable risk of

harm to others, including the Danleys.42

           91.      If the Defendants had not violated one or more of the above described safety

rules, duties, and standards, then the Danleys' injuries and damages would not have occurred. 43

                 COMPENSATORY DAMAGES SUSTAINED BY THE DANLEYS

           92.     The injuries and damages sustained by Edward Danley because of Defendants'

violation of one or more of the above described safety rules, duties, and standards, include but

are not limited to:

                   A.       Serious and permanent bodily injuries to Edward Danley's
                            neck, back, and other parts of his body, which is a life-
                            altering event causing Edward Danley to lose the ability to
                            enjoy a normal quality of life, and depriving him of the
                            right to live his life in comfort and ease without added
                            inconvenience or diminution of physical vigor; 44

                   B.       Aggravation of a condition(s) already then existing at the
                            time of Edward Danley's fall that predisposed Edward
                            Danley to injury to a greater extent than another person; 45
                                                                                 '
                   C.       Medical expenses incurred in the past and reasonably
                            expected to be incurred, and transportation expenses to
                            obtain such medical treatment; 46


42
  State Farm Mut. Auto. Ins. Co. v. Pharr, 305 Ark. 459, 464, 808 S.W.2d 769, 771-72 (1991) (following Machine,
Inc. v. Wallace, 268 Ark. 192, 600 S.W.2d l (1980)).
43
     AMI Civ. 501 (2015).
44
  AMI Civ. 2202 (2015); Sanson v. Allinson, 2014 Ark. App. 619, 447 S. W.3d 151; Gross & Janes Co. v. Brooks,
2012 Ark. App. 702, 425 S.W.3d 795; Graftenreedv. Seabaugh, 100 Ark. App. 364, 268 S.W.3d 905 (2007);
Fayetteville Diagnostic Clinic v. Turner, 344 Ark. 490, 42 S.W.3d 420 (2001); Wheeler v. Bennett, 312 Ark. 411,
849 S.W.2d 952 (1993); Adkins v. Kelley, 244 Ark. 199, 424 S.W.2d 373 (1968) (quoting Henry Woods, Earnings
and Earning Capacity as Elements of Danger in Personal In}'l!!Y Litigation, 18 Ark. L. Rev. 304, 305 (1964)).
45
  AMI Civ. 2203 (2015); Sanson v. Allinson, 2014 Ark. App. 619, 447 S.W.3d 151; Primm v. U.S. Fid & Guar.
Ins. Corp., 324 Ark. 409, 922 S.W.2d 319 (1996); Owen v. Dix, 210 Ark. 562, 196 S.W. 319 (1946); see also
Kudabeck v. Kroger Co., 338 F.3d 856 (8th Cir. 2003); Tedder v. Am. Railcar Indus., 739 F.3d 1104 (8th Cir. 2014).
46
   AMI Civ. 2204 (2015); Gross & Janes Co. v. Brooks, 2012 Ark. App. 702, 425 S.W.3d 795; Graftenreedv.
Seabaugh, 100 Ark. App. 364, 268 S.W.3d 905 (2007); Fayetteville Diagnostic Clinic v. Turner, 344 Ark. 490, 42
S. W.3d 420 (2001); Wal-Mart Stores, Inc. v. Kelton, 305 Ark. 173, 806 S.W.2d 373 (1991); Honeycutt v. Walden,
                                                        14
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                  D.       Physical pain and suffering experienced in the past and
                           reasonably expected to be experienced; 47

                  E.       Loss of income in the past, including but not limited to
                           hiring a substitute driver,48 and loss of income reasonably
                           expected to be experienced; 49

                  F.       Loss of earning capacity due to permanent physical
                           impairment from the injuries caused by Edward Danley's
                           fall·so
                                '
                  G.       Mental anguish experienced in the past and reasonably
                           expected to be experienced, which includes but is not
                           limited to Edward Danley's loss of quality of life due to
                           permanent injuries causing chronic pain that limits his
                           activities; 51

                  H.       The reasonable expense of any necessary help in Edward
                           Danley's home in the past, and reasonably certain to be
                           required because of his injuries injuries. 52



294 Ark. 440, 743 S. W.2d 809 (1988); Matthews v. Rodgers, 279 Ark. 328, 651 S. W.2d 453 (1983); Williams v.
Gates, 275 Ark. 381, 630 S.W.3d 34 (1982); Haney v. Noble, 250 Ark. 557, 466 S.W.2d 467 (1971) (citing Belford
v. Humphrey, 244 Ark. 211, 424 S.W.2d 526 (1968)).
47
  AMI Civ. 2205 (2015); Fayetteville Diagnostic Clinic v. Turner, 344 Ark. 490, 42 S.W.3d 420 (2001); RLI Ins.
Co. v. Coe, 306 Ark. 337, 813 S.W.2d 783 (1991); Bill Davis Trucking, Inc. v. Prysock, 301 Ark. 387, 784 S.W.2d
755 (1990); Handy Dan Home lmprov. Center, Inc. v. Peters, 286 Ark. 102, 689 S.W.2d 551 (1985).
48
  AMI Civ. 3d2206 (2013); Swenson v. Hampton, 244 Ark. 104, 424 S.W.2d 165 (1968); Cates v. Brown, 278 Ark.
242, 645 S.W.2d 658 (1983); Sharp v. Great Southern Coaches, Inc., 256 Ark. 773, 510 S.W.2d 266 (1974); John
Hancock Mut. Life Ins. Co. v. Magers, 199 Ark. 104, 132 S.W.2d 841 (1939); Henry Woods, Earnings and Earning
Capacity as Elements ofDanger in Personal Injury Litigation, 18 Ark. L. Rev. 305, 308-09 (1965).
49
  AMI Civ. 2206 (2015); Swenson v. Hampton, 244 Ark. 104, 424 S.W.2d 165 (1968); Cates v. Brown, 278 Ark.
242, 645 S.W.2d 658 (1983).
50
  AMI Civ. 2207 (2015); Sanson v. Allinson, 2014 Ark. App. 619, 7, 447 S.W.3d 151; Gross & Janes Co. v.
Brooks, 2012 Ark. App. 702, 425 S.W.3d 795; Graftenreed v. Seabaugh, 100 Ark. App. 364, 268 S.W.3d 905
(2007); Collins v. Hinton, 327 Ark. 159, 937 S.W.2d 164 (1997); Gipson v. Garrison, 308 Ark. 344, 824 S.W.2d
829 (1992); Bill Davis Trucking, Inc. v. Prysock, 301Ark.387, 784 S.W.2d 755 (1990); West Union v. Vostatek,
302 Ark. 219, 788 S.W.2d 952 (1990); Honeycutt v. Walden, 294 Ark. 440, 743 S.W.2d 809 (1988); Haneyv. Noble,
250 Ark. 557, 466 S. W.2d 467 (1971 ); Blissett v. Frisby, 249 Ark. 235, 458 S. W.2d 735 (1970); Hogan v. Hill, 229
Ark. 758, 318 S.W.2d 580 (1958); Britt Trucking Co. v. Ringgold, 209 Ark. 769, 192 S.W.2d 532 (1946).
51
  AMI Civ. 2205 (2015); RLI Ins. Co. v. Coe, 306 Ark. 337, 813 S.W.2d 783 (1991); Chicago, R.J. & P. Ry.' Co. v.
Caple, 207 Ark. 52, 179 S.W.2d 151 (1944); Scott-Burr Stores Corp. v. Foster, 197 Ark. 232, 122 S.W.2d 165
(1938); Howard W. Bri11, Law of Damages§ 29 (5th ed. Thompson West 2004).
52
  AMI Civ. 2209 (2015); Gross & Janes Co. v. Brooks, 2012 Ark. App. 702, 425 S.W.3d 795; Carr v. Nance, 20\0
Ark. 497, 370 S.W.3d 826; Jackson v. United States, 526 F. Supp. 1149 (E.D. Ark. 1981), aff'(i, 6..96 F.2d 99~_(8th
Cir. 1982); Perkins Oil Co. o/Del. v. Fitzgerald, 197 Ark. 14, 121S.W.2d877 (1938).
                                                         15
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            93.      The separate Plaintiff, Rena Danley, is the spouse of the injured Plaintiff, Edward

 Danley.

            94.      Rena Danley sustained damages for the loss of services, society, companionship,

 and marriage relationship of her husband.

            95.      Rena Danley should be fully and fairly compensated for loss of consortium

 damages.

            96.      Defendants' violation of one or more of the above described safety rules, duties,

 and standards proximately caused Rena Danley's loss of consortium damages. 53

                                            )>UNITIVE DAMAGES

            97.     Besides the compensatory damages for actual losses and damages sustained by

. Plaintiffs, the Danleys should also be awarded punitive damages to deter other wrongdoers and

 to punish the Defendants because their violation of one or more of the above described safety

 rules, duties and standards were willfull, wanton, and reckless.

            98.     Defendants knew or ought to have known, in light of the viscous and slippery

nature and properties of Tall Oil Soap, that allowing it to accumulate on the ground, the stairs,

and the platform 15-20 feet above the ground would naturally and probably result in injury. 54

            99.     Despite this knowledge, Defendants continued to allow Tall Oil Soap to remain

 on the ground, the stairs, and the platform 15-20 feet above the ground on Defendants premises,

 which shows a conscious indifference to the health and safety of Edward Danley and others, and




~ 3 AMI Civ. 2211 (2015); Mo. Pac. Trans. Co. v. Miller, 227 Ark. 351, 299 S.W.2d41 (1957).
 54
      Carr v. Nance, 2010 Ark. 497, 370 S.W.3d 826 (2010).
                                                         16
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a conscious disregard of a known risk of harm to Edward Danley and others from which malice

may be inferred. 55

            100.    Defendants' lack of effort to repair or clean the Tall Oil Soap from their premises,

or have a training program or provide training or to supervise their employees to repair or clean

the Tall Oil Soap from their premises, constitutes a reckless disregard of the consequences from

which malice may be inferred. 56

           101.     Defendants' willful, wanton, and reckless violation of one or more of the above

described safety rules, duties and standards, as well as their conscious indifference about the
                                                                                        57
safety of their premises, resulted in injuries and damages to Edward Danley.

                                          AMOUNT OF DAMAGES

           102.     The injuries and damages sustained by the Danleys are in excess of the minimum

amount required for federal court jurisdiction in diversity of citizenship cases, for which the

Danleys should be awarded a judgment against Defendants in an amount to fully and fairly

compensate them for each and every element of damages sustained.

                                        DEMAND FOR JURY             TRIA~


           103.     The Danleys demand a jury trial for all issues of fact presented by this action.

                              RESERVATIONS OF ADDITIONAL CLAIMS

           104.     The Danleys reserve the right to plead further upon completion of discovery to

state additional claims and to name additional parties to this action.




55
     Arrow Jnt'l v. Sparks, 81 Ark. App. 42, 98 S.W.3d 48 (2003).
56
     AMI Civ. 2218 (2015).
57
  BMW of N. Am. v. Gore, 517 U.S. 559, 577, 116 S. Ct. 1589, 1599 (1996)("infliction of economic injury ... can
warrant a substantial penalty").
                                                          17
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        WHEREFORE, premises considered, the Danleys pray that Summons be issued for each

Defendant and that following a jury trial, they be awarded a judgment against the Defendants in

an amount that will fully compensate them for all elements of damages sustained, and in an

amount in excess of that required for federal court jurisdiction in diversity of citizenship cases;

that they recover punitive damages and attorneys' fees, costs expended, and have and receive all

other proper relief to which they may be entitled in the premises.




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.   '




                       IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ARKANSAS
                                         2N» CIVIL DIVISION

        EDWARD A. DANLEY, and                                                                PLAINTIFFS
        RENA DANLEY

        v.                                            35CV-15-332

        MONDI BAGS USA, LLC,                                                               DEFENDANTS
        GRAPHIC PACKAGING INTERNATIONAL, INC.,
        DELTA NATURAL KRAFT, LLC, and
        JOHN DOES 1-5

                        PLAINTIFF'S REQUESTS FOR ADMISSIONS
                PROPOUNDED TO SEPARATE DEFENDANT, MONDI BAGS USA, LLC


                Comes now the Plaintiffs, Edward A. Danley and Rena Danley, and propounds the

        following requests for admissions of fact to the Separate Defendant, Mondi Bags USA, LLC

        ("Mondi Bags"), to be answered within 30 days from service and in the manner required by law,

        and verified under oath, by Mondi Bags specifically admitting or denying the following facts.

        Mondi Bags is hereby further advised that a failure to specifically answer any Request for

        Admission or an evasive answer to any Request for Admission shall be taken as an admission of

        the truth of such requests. A true and correct copy of these Requests for Admissions is being

        delivered to the Clerk of this Court for filing as a permanent court record therein. The facts that

        you are requested to admit or deny are as follows:

                REQUEST FOR ADMISSION 1: Admit this Court has jurisdiction over the parties to

        this action.

                REQUEST FOR ADMISSION 2: Admit this Court has jurisdiction over the subject

        matter of this action.

                REQUEST FOR ADMISSION 3: Admit venue is proper in this Court for this action.
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        REQUEST FOR ADMISSION 4: Admit process and service of process upon Mondi

Bags is sufficient for this action.

        REQUEST FOR ADMISSION 5: Admit Plaintiffs' Complaint has stated facts upon

which relief can be granted.

        REQUEST FOR ADMISSION 6: Admit that there are no other parties who are

required to be joined as a party to this action.

        REQUEST FOR ADMISSION 7: Admit Mondi Bags was at fault in causing the fall

on Defendants' premises as described in the Complaint filed herein that occurred on July 11,

2012, and which is the subject of this action (hereinafter referred to as "fall" and "premises").

        REQUEST FOR ADMISSION 8: Admit that the Plaintiff was not at fault in causing

the the fall that is the subject of this action.

        REQUEST FOR ADMISSION 9: Admit that no third party contributed to or was at

fault in causing the fall that is the subject of this action.

        REQUEST FOR ADMISSION 10: Admit that Mondi Bags owned an interest in the

premises on the date of the fall.

        REQUEST FOR ADMISSION 11: Admit that Mondi Bags had a right of control of the

premises on the date of the fall.

        REQUEST FOR ADMISSION 12: Admit that at the time of the fall that is the basis of

this lawsuit, the Plaintiff was an "invitee" on Mondi Bags' premises as that term is known in.the

law relative to someone using another's premises from the property owner's or operator's

express or implied invitation to use the premises.

        REQUEST FOR ADMISSION 13: Admit that the Mondi Bags actually knew of the

existence of the unguarded front (north) side of the platform from which Plaintiff fell (hereinafter



                                                     2
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referred to as the "platform"), before the Plaintiffs fall from the platform that is the basis of this

lawsuit.

        REQUEST FOR ADMISSION 14: Admit that Mondi Bags actually knew of the

existence of Tall Oil Soap residue that coated the platform before the fall that is the basis of this

lawsuit.

        REQUEST FOR ADMISSION 15: Admit that the unguarded north side of the platform

located on Defendant's premises was a dangerous condition.

        REQUEST FOR ADMISSION 16: Admit that the Tall Oil Soap residue coating the

ground, stairs, and platform located on the Defendant's premises was a dangerous condition.

        REQUEST FOR ADMISSION 17: Admit that Mondi Bags directed the Plaintiff,

Edward A. Danley, to park his truck with tanker trailer near the slippery, unguarded north side of

the platform.

        REQUEST FOR ADMISSION 18: Admit that after the fall Mondi Bags caused the Tall

Oil Soap residue to be removed from the platform.

        REQUEST FOR ADMISSION 19: Admit that sometime before and on July 11, 2012,

Mondi Bags allowed the front (north) side of the platform to remain unguarded.

           REQUEST FOR ADMISSION 20: Admit that sometime before or on July 11, 2012,

Mondi Bags allowed the platform to become coated in Tall Oil Soap.

           REQUEST FOR ADMISSION 21: Admit that on July 11, 2012, before the fall, Mondi

Bags failed to warn the Plaintiff Edward A. Danley about the slippery, unguarded north side of

the platform.




                                                   3
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       REQUEST FOR ADMISSION 22: Admit that on July 11, 2012, the Plaintiffs fall on

Mondi Bag's premises caused the Plaintiff Edward A. Danley to suffer serious and permanent

bodily injuries to his neck, back, and other parts of his body.

       REQUEST FOR ADMISSION 23: Admit that Mondi Bags had a duty to follow safety

rules and standards to maintain their loading platform and premises in a reasonably safe

condition.

       REQUEST FOR ADMISSION 24: Admit that Mondi Bags had a duty to follow safety

rules and standards to protect the Plaintiff Edward A. Danley from foreseeable workplace

dangers about which Mondi Bags knew or should have known about.

       REQUEST FOR ADMISSION 25: Admit that Mondi Bags knew or should have known

that a person losing their footing on surfaces covered with Tall Oil Soap was a foreseeable risk.

       REQUEST FOR ADMISSION 26: Admit that Mondi Bags knew or should have known

that falls from the loading platform from which Plaintiff Edward A. Danley fell were a

foreseeable risk.

       REQUEST FOR ADMISSION 27: Admit that Mondi Bags was required to provide and

maintain clean and dry surfaces on the platform and on the passageways and stairs used to access

the platform.

        REQUEST FOR ADMISSION 28: Admit that Mondi Bags was required to have a

guard rail or other suitable protections on the front (north) side of the platform.

        REQUEST FOR ADMISSION 29: Admit that Mondi Bags was required to follow

safety rules and standards to protect Plaintiff Edward A. Danley from dangers he might discover.




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           REQUEST FOR ADMISSION 30: Admit that Mondi Bags was required to follow

    safety ruies and standards to anticipate dangerous conditions that would cause physical harm,

    regardless if such dangerous conditions were open and obvious.

           REQUEST FOR ADMISSION 31: Admit that Mondi Bags was required to follow

    safety rules and standards to inspect the loading facility and premises to discover the actual

    condition of the premises for the safety of the Plaintiff Edward A. Danley and others.

           REOUEST FOR ADMISSION 32: Admit that Mondi Bags was required to follow

    safety rules and standards to institute a training program for employees to teach them how to

    inspect the loading facility and premises to discover the actual condition of the premises for the

    safety of the Plaintiff Edward A. Danley and others.

           REQUEST FOR ADMISSION 33: Admit that Mondi Bags was required to follow

    safety rules and standards to provide training to employees to teach them how to inspect the

    loading facility andJor premises to discover the actual condition of the premises for the safety of

    the Plaintiff Edward A. Danley and others.

           REQUEST FOR ADMISSION 34: Admit that Mondi Bags was required to follow

    safety rules and standards to warn of dangerous conditions discovered following an inspection of

    the loading facility and premises.

            REOUEST FOR ADMISSION 35: Admit that Mondi Bags was required to follow

    safety rules and standards to institute a training program for employees to teach them how to

    warn of dangerous conditions discovered following inspection of the loading facility andJor

    premises.




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              REQUEST FOR ADMISSION 36: Admit that Mondi Bags was required to follow

    safety rules and standards to provide training to employees to teach them how to repair the

    premises after discovering a defective condition.

              REQUEST FOR ADMISSION 37: Admit Mondi Bags was required to follow safety

    rules and standards to use ordinary care for the safety of the Plaintiff Edward A. Danley and

    others.

              REQUEST FOR ADMISSION 38: Admit that Mondi Bags was required to hire only

    employees with the skills and aptitude needed to follow the safety rules and standards listed

    above and to supervise their performance to ensure the employees complied with the safety rules

    and standards listed above.

              REQUEST FOR ADMISSION 39: Admit that Mondi Bags' negligence was a

    proximate cause of the Plaintiff Edward A. Danley's injuries.

              REQUEST FOR ADMISSION 40: Admit that if you do not respond to these Requests

    for Admissions, it is because you are liable for all of the Plaintiffs' injuries and damages, and

    because you are completely at fault without any defense to the Plaintiffs' Complaint filed herein.

              Dated this 29th day of September, 2015.

                                           Respectfully submitted,

                                           Chaney Law Firm, P.A.
                                           Don P. Chaney, AR BIN 78027
                                           Nathan P. Chaney, AR BIN 2004109
                                           S. Taylor Chaney, AR BIN 2010011
                                           P.O. Box 1405
                                           Arkadelphia, AR 71923
                                           Email: don@chaneylaw.com
                                           Telephone: 870-    -0600
                                           Telefax: 870- ~6- 602




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                                   And

                                   Robert C. Williamson
                                   David Baria
                                   Baria-Williamson, PLLC
                                   4316 Old Canton Road, Suite 1OOA
                                   Jackson, MS 39211
                                   Email: rcw@barialaw.com
                                   Telephone: 601-948-6005
                                   Telefax: 601-948-0306

                                   Attorneys for Plaintiffs




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                Chaney Law Firm
                526 Main Street
                Suite 204
                P.O. Box 1405
                Arkadelphia, AR 71923




                                                      Corporation Service Company
                                                      Registered Agent for Service of Process
                                                      for Mondi Bags USA, LLC
                                                      300 Spring Building, Suite 900
                                                      300 South Spring Street
                                                      Little Rock, Arkansas 72201




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           I, JEFFREY W. BULLOCK, SECRETARY OF STAT.E OF THE STAT.E OF

   DELAWARE, DO HEREBY CERTIFY THE ATTACHED IS A TRUE AND CORRECT

   COPY OF THE CERTIFICAT.E OF MERGER, WHICH MERGES:

           "MID-AMERICA PACKAGING, LLC", A DELAWARE LIMIT.ED LIABILITY

   COMPANY,

           "BLUEGRASS MULTIWALL BAG COMPANY, LLC", A DELAWARE LIMITED

   LIABILITY COMPANY,

           "BLUEGRASS FLEXIBLE PACKAGING COMPANY, LLC", A DELAWARE

   LIMIT.ED LIABILITY COMPANY,

           "DELTA NATURAL KRAFT, LLC", AN ARKANSAS LIMIT.ED LIABILITY

   COMPANY,

           WITH AND INTO "GRAPHIC FLEXIBLE PACKAGING, LLC" UNDER THE

   NAME OF "GRAPHIC FLEXIBLE PACKAGING, LLC", A LIMITED LIABILITY

   COMPANY ORGANIZED AND EXISTING UNDER THE LAWS OF THE STAT.E OF

   DELAWARE, AS RECEIVED AND FILED IN THIS OFFICE ON THE TWENTY-

   SEVENTH DAY OF JUNE, A.D. 2012, AT 7:02 O'CLOCK P.M.




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         Case 5:15-cv-00353-JM Document 1 Filed 11/04/15 Page 69 of 72




                                   Delaware                                          Page 2

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         AND I DO HEREBY FURTHER CER'l'IFY THA'l' 'l'HE EFFEC'l'IVE           DA~    OF

  'l'HE AFORESAID CER'l'IFICA~ OF MERGER IS 'l'HE 'l'HIR'l'IE'l'H DAY OF

  JUNE, A.D. 2012 A'l' 11:59 O'CLOCK P.M.




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SR# 20150618436                                                                       Date: 10-23-15
You may verify this certificate online at corp.delaware.gov/authver.shtml
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                               CERTIFICATE OF MERGER
                                             OF                   .
                      BLUEGRASS MULTIWALL BAG COMPANY, LLC
                           {a Delaware limited liability company),

               BLUEGRASS FLEXIBLE PACKAGING COMPANY, LLC
                     (a Delaware limited liability company),

                            MID-AMERICA PACKAGING, LLC
                            (a Delaware limited liability company)

                                            AND

                             DELTA NATURAL KRAFT, LLC
                           (an Arkansas limited liability company)

                                     WITH AND INTO

                         GRAPHIC FLEXIBLE PACKAGING, LLC
                           (a DeJaware limited liability company)


         Pursuant to Title 6. Section 18-209 of the Delaware Limited Liability Company
Act, Graphic Flexible Packaging, LLC, executes the following Certificate of Merger:

1.      The name and jurisdiction of formation of each limited liability company which is
        to merge are:

          ~                                                       Jurisdiction
          Bluegrass Multiwall Bag Company, LLC                    Delaware
          Bluegrass Flexible Packaging Company, LLC .             Delaware
          Mid-America Packaging, LLC                              Delaware
          Delta Natural Kraft, LLC                                Arkansas
          Graphic Flexible Packaging, LLC                         Delaware

2.      An Agreement and Plan of Merger and Reorganization has been approved and
        executed by each limited liability company which is to merge.

3.      The name of the surviving limited liability company is Graphic Flexible
        Packaging, LLC.

4.       The merger shall be effective at 11 :59 p.m. local time on JWle 30, 2012.

5.      The Agreement and Plan of Merger and Reorganization is on file at the principal
        place of business of the surviving limited liability company wb:ich is located at
        814 Livingston Court, Marietta, Georgia 30067.


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 6.      A copy of the Agreement and Plan of Merger and Reorganization will be
         furnished by the surviving limited liability company, on request and without cost,
         to any member of any limited liability company which is to merge.


                               [Signature on following page}




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          TN WI1NESS WHEREOF, Graphic Flexible Pac~ing; LLC has caused this
 Certificate of Merger to be executed by a manager this ,2 7 - day of JWle, 20 t 2.


                                             GRAPIDC FLEXIBLE PACKAGING, LLC




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